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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (___)
                                                                     )
                             Debtors.                                )     (Joint Administration Requested)
                                                                     )

          MOTION OF DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS
            (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION
           FINANCING AND (B) UTILIZE CASH COLLATERAL, (II) GRANTING
           LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
     (III) MODIFYING THE AUTOMATIC STAY, (IV) AUTHORIZING THE DEBTORS
      TO USE UST CASH COLLATERAL, (V) GRANTING ADEQUATE PROTECTION,
    (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

as follows in support of this motion:2

                                             Preliminary Statement

             1.     The Debtors filed these chapter 11 cases to conduct a comprehensive and

value-maximizing liquidation of their assets and an efficient and orderly wind-down of their

operations. The Debtors enter these chapter 11 cases with only approximately $39 million of

liquidity on their balance sheet—an amount insufficient to fund the Debtors’ wind-down efforts,




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
      the Debtors’ chapter 11 cases, is set forth in the Declaration of Matthew A. Doheny, Chief Restructuring Officer
      of Yellow Corporation, in Support of Debtors’ Chapter 11 Petitions and First Day Motions
      (the “First Day Declaration”), filed contemporaneously herewith. Capitalized terms used but not immediately
      defined in this motion have the meanings ascribed to them later in this motion, in the First Day Declaration, the
      interim order, substantially in the form attached hereto as Exhibit A (the “Interim Order”), or the interim order
      governing the Treasury’s interests in Cash Collateral, attached hereto as Exhibit B (the “Interim UST Cash
      Collateral Order”), as applicable.
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sale process, and the limited operations the Debtors must maintain to maximize the value of their

estates. Accordingly, entry into that certain senior secured super-priority debtor-in-possession

credit agreement (the “DIP Credit Agreement” and the facility set forth therein, the “DIP Facility”)

and access to the Prepetition Secured Parties’ (and the Prepetition UST Secured Parties’) cash

collateral on the terms set forth in the Interim Order and the Interim UST Cash Collateral Order

(the “Cash Collateral,” and specifically, as set forth in the Interim Order, the “Available ABL Cash

Collateral”) is necessary to ensure that the Debtors will have ample liquidity to administer a

value-maximizing chapter 11 process.

       2.      The Debtors anticipate filing a bidding procedures motion (the “Bidding

Procedures Motion,” and the bidding procedures sought for entry thereunder, the “Bidding

Procedures”) in the near term. Through the Bidding Procedures, the Debtors will market all of

their assets to interested purchasers, including the Debtors’ former industry competitors as well as

other strategic and financial buyers and investors, over an approximately three-month process led

by the Debtors’ proposed investment banker, Ducera Partners LLC (“Ducera”). Concurrent with

marketing their extensive portfolio of assets, the Debtors will complete an orderly wind-down of

their operations, which was commenced prior to the Petition Date. Operations will remain limited

and solely to support sale and wind-down efforts, including clearing remaining customer freight

and collection of associated accounts receivable, over an expedited period. Access to Cash

Collateral and the DIP Facility proceeds is essential to fund the Debtors’ sale process, an efficient

wind-down, and these limited operations.

       3.      Over the course of several intensive weeks, Ducera, on behalf of the Debtors, led

an extensive marketing process designed to identify parties with interest in providing postpetition

financing to the Debtors. These parties included institutions both from within and outside the



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Debtors’ existing capital structure. Ducera contacted approximately 35 third-party financial

institutions, of which 10 executed confidentiality agreements and received access to a private data

room containing detailed materials related to the Debtors’ financials, operations, assets,

organizational structure, and the opportunity to provide debtor-in-possession financing. The

Prepetition Secured Parties, including the Prepetition B-2 Lenders, as well as the Prepetition UST

Secured Parties, indicated that they would not consent to having their prepetition liens primed by

a third-party lender. Further, as explained in the Declaration of Cody Leung Kaldenberg,

Founding Member of and Partner at Ducera Partners LLC, In Support of the Motion of Debtors

for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition

Financing and (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative

Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use UST

Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final Hearing, and

(VII) Granting Related Relief (the “Kaldenberg Declaration”), no party other than the Prepetition

B-2 Lenders offered the Debtors an actionable post-petition financing facility. See Kaldenberg

Decl. ¶ 19. Further the Prepetition ABL Lenders (defined below), who have a first lien on the

Debtors’ cash and accounts receivable, were unwilling to consent to the Debtors’ use of a sufficient

portion of those collections to fund the Debtors’ wind-down, the sale process, and these chapter 11

cases. Thus, the incremental liquidity provided by the New Money DIP Term Loans of the DIP

Facility is required to achieve the Debtors’ objectives in these cases.

       4.      Once the Debtors and Ducera determined that a debtor-in-possession financing

facility would likely and realistically only be made available from the Prepetition B-2 Lenders, the

Debtors and their advisors commenced hard-fought negotiations with the Prepetition B-2 Lenders

and their advisors on the terms of the DIP Facility in order to obtain the best possible terms under



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the circumstances. As part of these intensive discussions, the Debtors and their advisors sought

significant concessions and adjustments relative to the DIP Lenders’ original offer for post-petition

financing. Specifically, the Debtors pursued a reduced Roll-Up Amount and reduced Fees,

including an overhaul of the Prepetition B-2 Lenders’ originally proposed fee structure (which

would have tied the Fees to the “asset monetization” of the Debtors’ sale process). As further

explained in the Kaldenberg Declaration, the Debtors succeeded in reducing the Fees (among other

concessions) but were unable to negotiate (despite their best efforts) a reduced Roll-Up Amount.

See Kaldenberg Decl. ¶ 20–21. As negotiations with the Prepetition B-2 Lenders progressed,

Ducera, on behalf of the Debtors, continued to canvass the debtor-in-possession financing market

for any and all available or possible alternatives. These efforts included reaching out to several of

the parties originally contacted, as well as certain additional parties, to solicit interest on the basis

of providing postpetition financing containing a new money component competitive with the

sizing of the DIP Facility (i.e., in the range of $142.5 million of new money loans, including with

approximately $60 million on an immediately needed basis). Notwithstanding these continuous

efforts by the Debtors and Ducera, no actionable offers for alternative postpetition financing

materialized. Following several days of around-the-clock and arm’s length negotiations, the

Debtors and the Prepetition B-2 Lenders agreed to the DIP Facility, which, as presented to the

Court today, represents the best possible debtor-in-possession financing facility that the Debtors

were able to obtain. Furthermore, the terms of the DIP Facility leave open the possibility for third

parties, if they have not yet come forward but wish to, to present competing offers for replacement

postpetition financing.

        5.      The DIP Facility is a $142.5 million new-money senior secured super-priority

debtor-in-possession facility (or approximately $644 million factoring in the Roll-Up Amount)



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provided by certain of the Debtors’ prepetition term lenders (in their capacity as lenders under the

Prepetition B-2 Term Loan Credit Agreement, the “Prepetition B-2 Lenders” or, as lenders under

the DIP Facility, the “DIP Lenders”), under that certain Amended and Restated Credit Agreement,

dated as of September 11, 2019, and amended and restated on April 7, 2020, July 7, 2020, and

July 7, 2023 (but effective as of June 30, 2023) (the “Prepetition B-2 Credit Agreement”), among

Yellow Corporation and certain of its subsidiaries, as guarantors, and Alter Domus Products Corp.

(f/k/a Cortland Products Corp.), as administrative agent and collateral agent (“Alter Domus” or

the “Prepetition B-2 Agent,” along with the Prepetition B-2 Lenders, the “Prepetition B-2 Secured

Parties”).

        6.      Through the DIP Facility, the Debtors will obtain access to (in addition to Available

ABL Cash Collateral) up to $142.5 million of new money over four draws as follows: (a) an initial

$60 million draw (the “Initial Draw”) made immediately available to the Debtors upon the Court’s

entry of the Interim Order; (b) $37.5 million upon the Court’s entry of a final, non-appealable order

approving the Bidding Procedures (the “Second Draw”); (c) $20 million upon the Debtors’ receipt,

pursuant to the Bidding Procedures Order, of unique, non-duplicative binding bids for the DIP

Priority Collateral (as defined in the Interim Order) that would, in the aggregate, generate net cash

proceeds equal to at least $250 million (the “Third Draw”); and (d) $25 million upon the Debtors’

receipt, pursuant to the Bidding Procedures Order, of unique, non-duplicative binding bids for the

DIP Priority Collateral that would, in the aggregate, generate net cash proceeds equal to at least

$450 million (the “Final Draw”). The DIP Facility contains milestones that provide for an efficient

and value-maximizing chapter 11 sale and wind-down process (as further described below and as

set forth in the DIP Credit Agreement, the “Milestones”).3


3   The Interim UST Cash Collateral Order contains certain of the same Milestones, as well as certain additional
    milestones (the ‘UST Milestones”) for the benefit of the Prepetition UST Secured Parties.

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       7.      Further, as described, the DIP Facility provides that the DIP Lenders’ Prepetition

B-2 Term Loans will be fully “rolled up” into the DIP Facility (i.e., into DIP Obligations) upon

the Court’s entry of the Interim Order (the “Roll-Up”). The proposed Roll-Up would convert into

DIP Obligations, immediately upon entry of the Interim Order, all outstanding obligations under

the Prepetition B-2 Credit Agreement held by the DIP Lenders or their affiliates or their respective

managed or related funds (including accrued interest and unpaid fees and expenses) (the “Roll-Up

Amount”). The Roll-Up Amount is $501,584,152.30. The Roll-Up constitutes a key component

of the DIP Facility. The DIP Lenders indicated to the Debtors that they would not agree to provide

the DIP Facility absent the Roll-Up and its being effectuated upon entry of the Interim Order. The

Roll-Up Amount represents an approximately 3.5-to-1 conversion of the DIP Lenders’ Prepetition

B-2 Obligations into DIP Obligations when accounting for the $142.5 million of New Money DIP

Term Loans under the DIP Facility (assuming all four draws).

       8.      Critically, the Roll-Up will not prejudice other parties in interest. All other secured

creditors have consented to the Roll-Up, and, in light of the DIP Lenders’ oversecured status, the

Roll-Up only affects the timing—and not the recovery—on account of such prepetition secured

claims. As described in the First Day Declaration and the Kaldenberg Declaration, the Debtors

have had their extensive portfolio of real estate, equipment, and other assets professionally

appraised at an aggregate value that, if and once monetized at such appraised aggregate value,

would exceed the aggregate amount of the Debtors’ prepetition secured debt and the DIP Facility.

See First Day Decl. ¶ 105; Kaldenberg Decl. ¶ 22. Under the circumstances described herein and

as set forth in the Kaldenberg Declaration, the Debtors submit that the Roll-Up is appropriate and

reasonable. Kaldenberg Decl. ¶ 20.




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           9.    In addition to the New Money DIP Term Loans (up to $142.5 million), the

Prepetition ABL Agent has consented to the Debtors’ use of the Available ABL Cash Collateral,4

and the Prepetition ABL Secured Parties have agreed to the Debtors' use of their cash on hand as

of the Petition Date less $16.5 million (which amount will be used to pay down (or cash

collateralize, as applicable) the Prepetition ABL Secured Parties at the outset of these cases

following entry of the Interim Order). As set forth in the Declaration of Brian Whittman,

Managing Director of Alvarez & Marsal North America, LLC, In Support of the Motion of Debtors

for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition

Financing and (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative

Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use UST

Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final Hearing, and

(VII) Granting Related Relief (the “Whittman Declaration”), Available ABL Cash Collateral is

expected to be approximately $80 million over the first twelve weeks of these chapter 11 cases.

See Whittman Decl. ¶ 9. The Debtors would be unable to finance their sale efforts and orderly

wind-down process, while maintaining certain limited and necessary wind-down and sale-related

operations, with Available ABL Cash Collateral alone. Accordingly, accessing the New Money

DIP Term Loans provided by the DIP Lenders is critical to maximize the value of the Debtors’

estates.

           10.   Pursuant to the DIP Facility, the Debtors will provide adequate protection to the

Prepetition Secured Parties and the Prepetition UST Secured Parties (as set forth in the Interim

Order and the Interim UST Cash Collateral Order, respectively), consisting of replacement liens,

payment of professional fees, interest and fees payments, and information and reporting rights (as


4   “Available ABL Cash Collateral” has the meaning ascribed to it in paragraph 11(c)(i) of the Interim Order.


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further described below and in the DIP Credit Agreement (as applicable to the Prepetition Secured

Parties) and the Interim UST Cash Collateral Order (as applicable to the Prepetition UST Secured

Parties), the “Adequate Protection”).5 Specifically, as security for the DIP Obligations, the

Debtors will grant the DIP Agent, for the benefit of the DIP Lenders, a first lien on all previously

unencumbered assets of the Debtors and a priming lien on certain Prepetition Collateral, subject

to the Prepetition Secured Parties’ collateral priority scheme as set forth in the Prepetition

Intercreditor Agreement. Further, the Approved Budget (as defined in the Interim Order) shall be

subject to the consultation rights of the Prepetition ABL Secured Parties and consent rights of the

Prepetition UST Secured Parties.

        11.      The DIP Facility (including each of the terms thereunder, as also set forth in the

Interim Order) and access to Cash Collateral (pursuant to the terms of the Interim Order and the

Interim UST Cash Collateral Order) has been consented to by each of the Prepetition B-2 Agent,

the Prepetition ABL Agent, and the Prepetition UST Agent. The DIP Facility is the culmination

of hard-fought, arms-length, good faith negotiations between the DIP Lenders, the Prepetition

Secured Parties, the Prepetition UST Secured Parties, and the Debtors.

        12.      As further described in the Kaldenberg Declaration, the terms and provisions of the

DIP Facility are fair and reasonable under the circumstances. See Kaldenberg Decl. ¶ 20.

The proposed DIP Facility, following Ducera’s thorough canvassing of the debtor-in-possession

financing market for available postpetition financing alternatives, represents the Debtors’ only




5   The UST Adequate Protection Obligations (as defined in the Interim UST Cash Collateral Order) for the benefit
    of the Prepetition UST Secured Parties are set forth in the contemporaneously filed UST Cash Collateral Order.
    The Prepetition UST Secured Parties requested that the Debtors provide the UST Adequate Protection Obligations
    pursuant to a standalone order separate from the Interim Order.


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available option to acquire postpetition funding apart from simply accessing Available ABL Cash

Collateral.

        13.      As further described in the Whittman Declaration, the Debtors enter these cases in

a compromised liquidity position and require access to Available ABL Cash Collateral and the

proceeds of the DIP Facility (including, in the immediate term, the $60 million Initial Draw) to

fund their wind-down and sale efforts and their limited remaining operations. See Whittman

Decl. ¶ 6. Specifically, access to the Initial Draw will permit the Debtors to meet near-term

obligations relating to payroll, preparing the Debtors’ assets for value-maximizing sales, and

allowing customers to obtain their freight remaining in the Debtors network. These funds will also

allow the Debtors, with the assistance of their advisors, to conduct a thorough marketing process

for their extensive asset portfolio and an orderly wind-down of their operations.

        14.      The DIP Facility is necessary to fund these chapter 11 cases, the wind-down of the

Debtors’ operations, and a value-maximizing sale process pursuant to section 363 of the

Bankruptcy Code and the anticipated Bidding Procedures. The proposed DIP Facility is therefore

in the best interests of the Debtors, is necessary to avoid irreparable harm to the Debtors and their

estates, and should be approved.

                                                Relief Requested

        15.      The Debtors seek entry of the Interim Order and the Interim UST Cash Collateral

Order and a final debtor-in-possession financing order (the “Final Order”) and a final order

governing the Treasury’s interest in Cash Collateral (the “Final UST Cash Collateral Order,” and

together with the Final Order, the “Final Orders” and collectively with the Interim Order and the

Interim UST Cash Collateral Order, the “Orders”):6


6
    The Debtors will file the form of Final Orders prior to the Final Hearing (as defined herein).


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   authorizing the Borrower (as defined below) to obtain postpetition financing
    (“DIP Financing”) pursuant to a secured, superpriority, priming debtor in
    possession multi-draw term loan facility (the “DIP Facility”) subject to the
    terms and conditions set forth in the Interim Order and that certain Senior
    Secured Super-Priority Debtor-in-Possession Credit Agreement attached to the
    Interim Order as Exhibit 1 (as amended, restated, amended and restated,
    supplemented, or otherwise modified from time to time, the “DIP Credit
    Agreement”) by and among Yellow Corporation (“Yellow” or the “Company”),
    as borrower (in such capacity, the “Borrower”), the DIP Guarantors (as defined
    below), the financial institutions or other entities from time to time party thereto
    as “Lenders” (the “DIP Lenders”), and Alter Domus Products Corp., as
    administrative agent and collateral agent (in such capacity, together with its
    successors and permitted assigns, the “DIP Agent” and, together with the DIP
    Lenders, the “DIP Secured Parties”), consisting of (i) new money term loans
    (the “New Money DIP Term Loans”) in an aggregate principal amount of
    $142.5 million, of which $60 million will be made available to be drawn upon
    entry of the Interim Order (the “Interim Draw”) and the remainder will be made
    available to be drawn in three subsequent draws as set forth in the DIP Credit
    Agreement, and (ii) DIP Roll-Up Loans (as defined below) in an amount equal
    to (x) the Prepetition B-2 Obligations held by the DIP Lenders (or their
    affiliates) (including, without limitation, accrued interest, exit fee, and accrued
    and unpaid reasonable and documented fees and out-of-pocket expenses of the
    Prepetition B-2 Lenders (which are DIP Lenders) and their respective counsels)
    and (y) any accrued and unpaid reasonable and documented out-of-pocket
    expenses of the Prepetition B-2 Agent (as defined below) (including reasonable
    and documented counsel fees and out-of-pocket expenses) (the “Roll-Up
    Amount”), which will be deemed rolled up and converted into DIP Obligations
    (as defined below) upon entry of the Interim Order (the loans to be made
    available under the foregoing clauses (i) and (ii), the “DIP Loans” and the
    commitments therefor, the “DIP Commitments”);

   authorizing the Borrower to incur, and the other Debtors to jointly and severally
    guarantee (such Debtors, in this capacity, the “DIP Guarantors” and, together
    with the Borrower, the “DIP Loan Parties”) the DIP Loans and all extensions
    of credit, financial accommodations, reimbursement obligations, fees and
    premiums (including, without limitation, commitment fees or premiums and
    administrative agency fees), costs, expenses and other liabilities and obligations
    (including indemnities and similar obligations, whether contingent or absolute)
    earned, due and payable under the DIP Documents (as defined below)
    (collectively, the “DIP Obligations”), in each case subject to the Carve Out and
    the Canadian Priority Charges (as defined in the DIP Credit Agreement) and in
    accordance with the terms of the Interim Order and the DIP Documents;

   authorizing the DIP Loan Parties to execute, deliver and perform under the DIP
    Credit Agreement and all other documents and instruments that may be
    reasonably requested by the DIP Secured Parties in connection with the DIP
    Facility (in each case, as amended, restated, supplemented, waived or otherwise
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    modified from time to time in accordance with the terms thereof and under the
    Interim Order, together with the DIP Credit Agreement, the “DIP Documents”);

   subject to the Carve-Out (as defined below) and the Canadian Priority Charges
    (as defined in the DIP Credit Agreement) and otherwise solely to the extent set
    forth in the Interim Order, granting to the DIP Agent, for the benefit of the DIP
    Secured Parties, allowed superpriority administrative expense claims pursuant
    to section 364(c)(1) of the Bankruptcy Code;

   granting to the DIP Agent, for the benefit of the DIP Secured Parties, valid,
    enforceable, non-avoidable and automatically perfected liens pursuant to
    sections 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code on the DIP
    Collateral (as defined below), on the terms set forth in the Interim Order;

   authorizing the DIP Agent to take all commercially reasonable actions to
    implement the terms of the Interim Order;

   waiving (a) the Debtors’ right to surcharge the DIP Collateral, Prepetition B-2
    Collateral, or Prepetition ABL Collateral (each as defined below) pursuant to
    section 506(c) of the Bankruptcy Code and (b) any “equities of the case”
    exception under section 552(b) of the Bankruptcy Code;

   waiving the equitable doctrine of “marshaling” and other similar doctrines for
    the benefit of the DIP Secured Parties, the Prepetition Secured Parties, and the
    Prepetition UST Secured Parties with respect to the DIP Collateral, the DIP
    Obligations, the Prepetition Collateral, or the Prepetition Obligations (each as
    defined below), as applicable, in each case subject to the Carve Out and the
    Canadian Priority Charges (as defined in the DIP Credit Agreement);

   authorizing the Debtors to use proceeds of the DIP Facility and Cash Collateral
    solely in accordance with the Orders, the DIP Documents (including the
    Approved Budget, subject to Permitted Variances), and the Interim UST Cash
    Collateral Order (as defined below);

   authorizing the Debtors to pay the DIP Obligations as they become due and
    payable in accordance with the DIP Documents;

   authorizing the Debtors to remit ABL Cash Collateral (as defined below) to the
    Prepetition ABL Agent as set forth in the Interim Order and for the Prepetition
    ABL Agent to apply such ABL Cash Collateral to permanently reduce or cash
    collateralize, as applicable, Prepetition ABL Obligations as set forth in the
    Interim Order and pursuant to the procedures thereof;

   subject to the restrictions set forth in the DIP Documents and the Orders,
    authorizing the Debtors to use Prepetition Collateral and provide adequate
    protection to the Prepetition Secured Parties and the Prepetition UST Secured
    Parties for any diminution in value of their respective interests in the applicable

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              Prepetition Collateral (including Cash Collateral), for any reason provided for
              in the Bankruptcy Code (collectively, the “Diminution in Value”);

             vacating and modifying the automatic stay to the extent necessary to permit the
              Debtors, the DIP Secured Parties, the Prepetition Secured Parties, and the
              Prepetition UST Secured Parties to implement and effectuate the terms and
              provisions of the Orders and the DIP Documents;

             waiving any applicable stay (including under Bankruptcy Rule 6004) and
              providing for immediate effectiveness of the Interim Order, the Interim UST
              Cash Collateral Order, and, upon entry, the Final Orders; and

             scheduling a final hearing (the “Final Hearing”) to consider final approval of
              the DIP Facility and use of Cash Collateral (including UST Cash Collateral) on
              the terms of the Final Orders to be posted to the docket prior to the Final
              Hearing.

                                       Jurisdiction and Venue

        16.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent, pursuant to rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

        17.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        18.      The statutory bases for the relief requested herein are sections 105, 361, 362, 363,

364, 503, and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy

Code”),     rules   2002    and   4001    of   the    Federal   Rules    of   Bankruptcy      Procedure

(the “Bankruptcy Rules”), and Local Rules 2002-1(b), 4001-2, and 9013-1(m).


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         Concise Statements Pursuant to Bankruptcy Rule 4001(b) and Local Rule 4001-27

           19.       The below chart contains a summary of the material terms of the proposed DIP

Facility, together with references to the applicable sections of the relevant source documents, as

required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and Local Rule 4001-2.

      Bankruptcy Code                                        Summary of Material Terms
    Borrower                Yellow Corporation, a Delaware corporation (the “Borrower”)
    Bankruptcy Rule         See DIP Credit Agreement, Introduction
    4001(c)(1)(B)

    Guarantors              Each Subsidiary of the Borrower as of the Petition Date that is incorporated, formed or
                            otherwise organized under the Laws of the United States of America or Canada
    Bankruptcy Rule
                            (collectively, the “Guarantors”)
    4001(c)(1)(B)
                            See DIP Credit Agreement, “Guarantors,” Section 1.01

    DIP Lenders             Each lender from time to time party to the DIP Credit Agreement. As of the Closing Date,
                            Appendices A and B set forth the name of each Lender with a commitment for New Money
    Bankruptcy Rule
                            Term Loans and Appendix C sets forth the name of each Lender who shall be deemed to
    4001(c)(1)(B)
                            make Rolled Term Loans in accordance with Section 2.01(b).
                            See DIP Credit Agreement, “Lender,” Section 1.01; Appendices A–C

    Term                    The date that is the earliest to occur of the following (i) 90 days following the Closing Date
                            (the “Initial Maturity Date”); provided that, if (x) on or prior to the Initial Maturity Date the
    Bankruptcy Rule
                            Borrower shall have received unique, non-duplicative binding cash bids pursuant to the
    4001(b)(l)(B)(iii),
                            Bidding Procedures Order for DIP Priority Collateral equal to at least 100% of the sum of
    4001(c)(1)(B)
                            the aggregate amount of Obligations outstanding as of such date but shall not have
    Local Rule              consummated such sale of DIP Priority Collateral and (y) not later than 12:00 p.m. New
    4001-2(a)(ii)           York City time one (1) Business Day prior to the Initial Maturity Date, the Lenders and the
                            Administrative Agent shall have received a certificate signed by a Responsible Officer of
                            the Borrower certifying that the circumstances described in the foregoing clause (x) above
                            have occurred, the date in this clause (i) shall be extended to 105 days after the Closing
                            Date; (ii) the effective date or the date of the substantial consummation (as defined in
                            section 1102(2) of the Bankruptcy Code) of a Plan of Reorganization that has been
                            confirmed by an order of the Bankruptcy Court; (iii) the date the Bankruptcy Court orders
                            the conversion of the Chapter 11 Case of any of the Loan Parties to a liquidation under
                            Chapter 7 of the Bankruptcy Code; (iv) the date of consummation of a sale or other
                            disposition of all or substantially all of the assets of the Debtors under section 363 of the
                            Bankruptcy Code or otherwise; (v) the date the Bankruptcy Court orders the dismissal of
                            the Chapter 11 Case of any of the Loan Parties; (vi) the date of acceleration of the Term
                            Loans or early termination of the Commitments hereunder, including as a result of the
                            occurrence and continuance of an Event of Default; and (vii) the date that is 30 calendar


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       The summaries contained in this motion are qualified in their entirety by the provisions of the documents
       referenced, including the DIP Credit Agreement, the Interim Order, and the Interim UST Cash Collateral Order.
       To the extent any description, summary, or term in this motion is inconsistent with such documents, the terms of
       the applicable documents shall control. Capitalized terms used in this summary chart but not otherwise defined
       have the meanings ascribed to them in the DIP Documents or the Orders, as applicable.


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  Bankruptcy Code                                     Summary of Material Terms
                      days after the Petition Date if the Final Order Entry Date shall not have occurred by such
                      date.
                      See DIP Credit Agreement, “Maturity Date,” Section 1.01

Commitment            The New Money Term Loans will be available in four draws in an aggregate principal
                      amount equal to $142.5 million. Upon entry of the Interim Order, an initial draw of
Bankruptcy Rule
                      $60 million will be available. The DIP Loans consists of $501,584,152.30 of Rolled Term
4001(c)(1)(B)
                      Loans.
Local Rule
                      See DIP Credit Agreement, “Commitment,” Section 1.01; Interim Order at 2
4001-2(a)(ii)

Conditions of         The obligation of each Lender to honor any Request for Credit Extension is subject to
Borrowing             satisfaction (or waiver by the Required Lenders) of the following conditions precedent:
Bankruptcy Rule               (a)      The representations and warranties set forth in Article 5 and in each other
4001(c)(1)(B)         Loan Document shall be true and correct in all material respects on and as of the date of
Local Rule            such Credit Extension with the same effect as though made on and as of such date, except
4001-2(a)(ii)         to the extent such representations and warranties expressly relate to an earlier date, in which
                      case they shall be true and correct in all material respects as of such earlier date; provided,
                      that any such representation and warranty that is qualified by “materiality”, “material
                      adverse effect” or similar language shall be true and correct in all respects (after giving
                      effect to such qualification therein) on and as of the date of such Credit Extension with the
                      same effect as though made on and as of such date or such earlier date, as applicable.
                             (b)      No Default shall exist or would result from such proposed Credit Extension
                      or from the application of the proceeds therefrom.
                             (c)      The following shall each be true as the date of such Credit Extension:
                                      (i)     All Chapter 11 Orders and the orders granted in the Canadian
                             Recognition Proceedings filed or to be filed with, and submitted to, the Bankruptcy
                             Court or the Canadian Court shall be in form and substance acceptable to the Agents
                             and the Required Lenders.
                                      (ii)     Each Chapter 11 Order and the orders granted in the Canadian
                             Recognition Proceedings that has been entered as of such date shall be in full force
                             and effect and shall not have been vacated, reversed, modified, amended or stayed
                             without the written consent of the Agents and the Required Lenders.
                                      (iii)    No appeal of the DIP Order and the Canadian Orders shall have
                             been filed or remain pending as of the date of such Credit Extension.
                                      (iv)   The Loan Parties shall be in compliance in all material respects
                             with the DIP Order and each other Chapter 11 Order and the orders granted in the
                             Canadian Recognition Proceedings.
                             (d)      The Administrative Agent shall have received a Request for Credit
                      Extension in accordance with the requirements hereof.
                              (e)     The FTI Engagement Letter shall be in full force and effect.
                              (f)     All engagement letters or other agreements providing for the payment of
                      the fees and expenses of the proposed Debtors’ professional advisors shall be in form and
                      substance reasonably satisfactory to the Required Lenders.
                      Each Request for Credit Extension submitted by the Borrower shall be deemed to be a
                      representation and warranty by the Borrower that the conditions specified in Sections

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Bankruptcy Code                                    Summary of Material Terms
                  4.01(a) and (b) have been satisfied or waived on and as of the date of the applicable Credit
                  Extension.
                  The effectiveness of this Agreement and the obligation of each Lender to fund the Initial
                  Loans on the Closing Date, shall be subject to satisfaction (or waiver) of the following
                  conditions precedent:
                         (a)       The Administrative Agent and the Lenders shall have received the
                  following, each properly executed by a Responsible Officer of the signing Loan Party, each
                  dated as of the Closing Date:
                        (i)     executed counterparts of this Agreement duly executed by the Borrower
                  and each Guarantor;
                        (ii)     a Term Note executed by the Borrower in favor of each Lender that has
                  requested a Term Note at least one Business Day in advance of the Closing Date;
                         (iii)     the Security Agreement duly executed by the parties thereto; and
                         (iv)      the Fee Letter and the Agency Letter duly executed by the respective
                  parties thereto.
                        (b)       The Administrative Agent and the Lenders shall have received, on behalf
                  of themselves, the Agents and the Lenders, an opinion of Kirkland & Ellis LLP, special
                  counsel for the Loan Parties, dated the Closing Date and addressed to the Administrative
                  Agent, the Collateral Agent and the Lenders and in customary form and substance, and the
                  Borrower hereby requests such counsel to deliver such opinions.
                          (c)       The Administrative Agent and the Lenders shall have received (i) a copy
                  of the certificate or articles of incorporation or organization or certificate of formation,
                  including all amendments thereto, of each Loan Party, certified, if applicable, as of a recent
                  date by the Secretary of State of the state of its organization, and a certificate as to the good
                  standing (to the extent applicable) of each Loan Party as of a recent date, from such
                  Secretary of State or similar Governmental Authority; (ii) a certificate of the Secretary or
                  Assistant Secretary of each Loan Party dated the Closing Date and certifying (A) that
                  attached thereto is a true and complete copy of the by-laws or operating (or limited liability
                  company) agreement of such Loan Party as in effect on the Closing Date and at all times
                  since a date prior to the date of the resolutions described in clause (B) below, (B) that
                  attached thereto is a true and complete copy of resolutions duly adopted by the board of
                  directors (or equivalent governing body) of such Loan Party authorizing the execution,
                  delivery and performance of the Loan Documents to which such Loan Party is a party and,
                  in the case of the Borrower, the borrowings hereunder, and that such resolutions have not
                  been modified, rescinded or amended and are in full force and effect, (C) that the certificate
                  or articles of incorporation or organization or certificate of formation of such Loan Party
                  have not been amended since the date of the last amendment thereto shown on the
                  certificate of good standing furnished pursuant to clause (i) above, (D) as to the
                  incumbency and specimen signature of each officer executing any Loan Document or any
                  other document delivered in connection herewith on behalf of such Loan Party on the
                  Closing Date, and (E) as to the absence of any proceeding for the dissolution or liquidation
                  of such Loan Party; and (iii) a certificate of another officer as to the incumbency and
                  specimen signature of the Secretary or Assistant Secretary executing the certificate
                  pursuant to clause (ii) above.
                         (d)        (i) The Administrative Agent and the Lenders shall have received the
                  results of (x) searches of the Uniform Commercial Code filings (or equivalent filings) and
                  (y) judgment and tax lien searches, made with respect to each Loan Party in the states or

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Bankruptcy Code                                   Summary of Material Terms
                  other jurisdictions of formation of such Loan Party and with respect to such other locations
                  and names reasonably requested by the Required Lenders, together with copies of the
                  financing statements (or similar documents) disclosed by such search, (ii) such results shall
                  evidence the absence of any other Liens or mortgages on the Collateral, except the Liens
                  securing each Prepetition Indebtedness and other Permitted Liens and (iii) the Security
                  Agreement shall have been duly executed and delivered by each Loan Party that is to be a
                  party thereto, together with (x) certificates, if any, representing the Equity Interests pledged
                  by the Borrower and the Guarantors accompanied by undated stock powers executed in
                  blank and (y) documents and instruments to be recorded or filed that the Administrative
                  Agent may deem, subject to Section 6.13 reasonably necessary to satisfy the Collateral and
                  Guarantee Requirement.
                        (e)       Subject to Section 6.13(a), the Collateral and Guarantee Requirement shall
                  have been satisfied.
                         (f)      The Administrative Agent and the Required Lenders shall have received
                  all documentation and other information about the Borrower and the Guarantors required
                  under applicable “know your customer” and anti-money laundering rules and regulations,
                  including the USA PATRIOT Act, including without limitation, a duly executed W-9 tax
                  form (or such other applicable IRS tax form) of each Loan Party, that has been reasonably
                  requested in writing prior to the Closing Date.
                        (g)       The Administrative Agent and the Lenders shall have received a certificate
                  from an officer of the Borrower certifying as to compliance with the conditions set forth in
                  Sections 4.01(a) and (b).
                         (h)      All reimbursable reasonable and documented unpaid expenses (including
                  Attorney Costs) of the Prepetition B-2 Agent and Prepetition B-2 Lenders under the
                  Prepetition B-2 Loan Documents shall have been paid by the Borrower. The Administrative
                  Agent and the Required Lenders shall have received all applicable fees and other amounts
                  earned, due and payable on or prior to the Closing Date, including, to the extent invoiced
                  prior to the Closing Date (except as otherwise reasonably agreed by the Borrower),
                  reimbursement or payment of all out-of-pocket expenses required to be reimbursed or paid
                  by the Borrower hereunder or under any other Loan Document on or prior to the Closing
                  Date.
                         (i)      The Chapter 11 Cases shall have been commenced in the Bankruptcy Court
                  and all of the First Day Orders and all related pleadings to be filed at the time of
                  commencement of the Chapter 11 Cases or shortly thereafter shall have been reviewed in
                  advance by the Agents, Required Lenders, Prepetition UST Tranche A Secured Parties and
                  the Prepetition UST Tranche B Secured Parties and shall be in form and substance
                  acceptable to the Required Lenders, the Prepetition UST Tranche A Secured Parties and
                  the Prepetition UST Tranche B Secured Parties.
                         (j)      The Canadian Recognition Proceedings shall have been commenced in the
                  Canadian Court and all of the Canadian Orders and all related filings, motions, pleadings,
                  other papers or material notices to be filed at the time of commencement of the Canadian
                  Recognition Proceedings or shortly thereafter shall have been reviewed in advance by the
                  Required Lenders and shall be in form and substance acceptable to the Required Lenders.
                         (k)       The Interim Order (i) shall have been entered by the Bankruptcy Court and
                  the Borrower shall have delivered to the Administrative Agent and the Required Lenders a
                  true and complete copy of such order, and (ii) shall be in full force and effect and shall not
                  (in whole or in part) have been reversed, modified, amended, stayed, appealed or vacated,
                  or subject to stay pending appeal, or otherwise challenged or subject to any challenge,

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Bankruptcy Code                                   Summary of Material Terms
                  absent prior written consent of the Required Lenders (and with respect to any provisions
                  that affect the rights or duties of any Agent, such Agent). The Closing Date shall have
                  occurred on or prior to the third (3rd) Business Day after the Interim Order Entry Date.
                         (l)      [Reserved];
                         (m)      All orders entered by the Bankruptcy Court pertaining to cash management
                  and adequate protection, shall, and all other motions and documents filed or to be filed
                  with, and submitted to, the Bankruptcy Court in connection therewith shall be in form and
                  substance satisfactory to the Agents and Required Lenders.
                         (n)        (i) No trustee, examiner or receiver shall have been appointed or
                  designated with respect to the Debtors or their business, properties or assets and no motion
                  shall be pending seeking any such relief, and (ii) no motion shall be pending seeking any
                  other relief in the Bankruptcy Court to exercise control over Collateral with an aggregate
                  fair market value in excess of $100,000 with respect to all such motions; provided that this
                  clause (ii) shall not apply to any motion that is being contested in good faith by the Debtors
                  and which contest the Debtors reasonably believe will be successful.
                       (o)       The Administrative Agent and the Lenders shall have received the Initial
                  Budget and such other information (financial or otherwise) as the Lenders or the
                  Administrative Agent may reasonably request.
                         (p)      All engagement letters or other agreements providing for the payment of
                  the fees and expenses of the Debtors’ proposed professional advisors shall be in form and
                  substance reasonably satisfactory to the Required Lenders, the Prepetition UST Tranche A
                  Lenders and the Prepetition UST Tranche B Lenders.
                         (q)      The Cash Collateral Account shall have been established and shall
                  constitute Term Priority Collateral and not Prepetition ABL Priority Collateral.
                         (r)      [reserved].
                         (s)      Since July 7, 2023, none of the Loan Parties have transferred assets or
                  incurred any debt or obligations outside the ordinary course of business, except as disclosed
                  to the Lenders in writing (which may be by email) prior to the Closing Date.
                          (t)      Subject to Bankruptcy Court approval, (i) each Loan Party shall have the
                  corporate power and authority to make, deliver and perform its obligations under the Loan
                  Documents and the Interim Order and (ii) no consent or authorization of, or filing with,
                  any person (including, without limitation, any third party or any Governmental Authority)
                  shall be required in connection with the execution, delivery and performance by each Loan
                  Party of the Loan Documents, or for the validity or enforceability in accordance with its
                  terms against such Loan Party of the Interim Order, except for consents, authorizations and
                  filings which shall have been obtained or made and are in full force and effect.
                         (u)     The Administrative Agent and the Required Lenders shall be satisfied that
                  the Loan Parties have obtained any material third party and governmental consents
                  necessary in connection with the Facility, the financing hereunder and any related
                  transactions.
                         (v)   The Loan Parties and the transactions contemplated by the Loan
                  Documents and the Interim Order shall be in compliance with all applicable laws and
                  regulations.
                        (w)      The Loan Parties shall have executed an engagement letter to pay the fees
                  and expenses of Houlihan Lokey, as financial advisor to the Prepetition UST Tranche A


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Bankruptcy Code                                   Summary of Material Terms
                  Lenders and the Prepetition UST Tranche B Lenders, in form and substance satisfactory to
                  such Prepetition UST Tranche A Lenders and the Prepetition UST Tranche B Lenders.
                  Solely for purposes of determining whether the conditions set forth in Section 4.01 or 4.02
                  have been satisfied in respect of any Credit Extension, the Agents and each Lender party
                  hereto shall be deemed to have consented to, approved, accepted or be reasonably satisfied
                  with any document delivered prior to such Credit Extension or other matter (in each case,
                  for which such consent, approval, acceptance or satisfaction is expressly required by
                  Section 4.01 or 4.02, as applicable) by releasing its signature page to this Agreement or to
                  an Assignment and Acceptance, as the case may be.
                  The obligation of each Lender to fund Final Loans on any Final Loan Borrowing Date,
                  shall be subject to satisfaction (or waiver) of the following conditions precedent:
                          (a) Subject to Section 6.13(a), the Collateral and Guarantee Requirement shall
                  have been satisfied.
                            (b) The Administrative Agent and the Required Lenders shall have received a
                  certificate from an officer of the Borrower certifying compliance with the conditions set
                  forth in clauses (a) and (b) of Section 4.01.
                            (c) The Administrative Agent and the Required Lenders shall have received
                  all applicable fees and other amounts due and payable on or prior to the Closing Date,
                  including, to the extent invoiced prior to the Closing Date (except as otherwise reasonably
                  agreed by the Borrower), reimbursement or payment of all out-of-pocket expenses required
                  to be reimbursed or paid by the Borrower hereunder or under any other Loan Document on
                  or prior to the Closing Date.
                            (d) The Final Order (i) shall be in form and substance satisfactory to the
                  Agents and the Required Lenders, (ii) shall have been entered by the Bankruptcy Court
                  within a date which is 30 days following the Petition Date, and the Borrower shall have
                  delivered to the Administrative Agent and the Required Lenders a true and complete copy
                  of such order and (iii) shall be in full force and effect and shall not have been modified or
                  amended absent prior written consent of the Administrative Agent and the Required
                  Lenders or reversed, modified, amended, stayed, vacated, appealed or subject to a stay
                  pending appeal or otherwise challenged or subject to any challenge in any respect absent
                  the prior written consent of the Administrative Agent and the Required Lenders.
                          (e) The Loan Parties shall be in compliance with each order entered in the
                  Chapter 11 Cases and the Canadian Recognition Proceedings, including the DIP Order and
                  the Canadian Orders.
                            (f)   The Loan Parties shall be in compliance with the Approved Budget
                  (subject to Permitted Variances).
                            (g) The Interim Order shall have been entered by the Bankruptcy Court and
                  the Borrower shall have delivered to the Administrative Agent and the Required Lenders
                  a true and complete copy of such order, and such order shall and shall be in form and
                  substance satisfactory to the Required Lenders (and with respect to any provisions that
                  affect the rights or duties of any Agent, such Agent) , be in full force and effect, and shall
                  not have been reversed, modified, amended, stayed, vacated or appealed or subject to
                  pending appeal or otherwise challenged or subject to any challenge in any respect absent
                  prior written consent of the Required Lenders (and with respect to any provisions that affect
                  the rights or duties of any Agent, such Agent).
                           (h)    All orders entered by the Bankruptcy Court pertaining to cash management


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      Bankruptcy Code                                        Summary of Material Terms
                             and adequate protection, shall, and all other motions and documents filed or to be filed
                             with, and submitted to, the Bankruptcy Court in connection therewith shall be in form and
                             substance satisfactory to the Agents and Required Lenders .
                                       (i)     (i) No trustee, examiner or receiver shall have been appointed or
                             designated with respect to the Debtors or their business, properties or assets and no motion
                             shall be pending seeking any such relief, and (ii) no motion shall be pending seeking any
                             other relief in the Bankruptcy Court to exercise control over Collateral with an aggregate
                             fair market value in excess of $100,000 with respect to all such motions; provided that this
                             clause (ii) shall not apply to any motion that is being contested in good faith by the Debtors
                             and which contest the Debtors reasonably believe will be successful.
                                      (j)    Administrative Agent and the Lenders shall have received the Initial
                             Budget, each Updated Budget required under Section 6.02(l) and such other information
                             (financial or otherwise) as the Lenders or the Administrative Agent may reasonably
                             request.
                                       (k)     (i) With respect to any Borrowing which would result in the aggregate
                             principal amount of New Money Term Loans borrowed hereunder exceeding $97,500,000,
                             the First Bid Milestone Date shall have occurred and (ii) with respect to any Borrowing
                             which would result in the aggregate principal amount of New Money Term Loans
                             borrowed hereunder exceeding $117,500,000, the Second Bid Milestone Date shall have
                             occurred.
                                       (l)      To the extent required by Section 6.07, the Administrative Agent shall
                             have received evidence that the insurance required by Section 6.07 is in effect, together
                             with endorsements naming the Administrative Agent, for the benefit of the Secured Parties,
                             as additional insured and loss payee thereunder.
                                       (m)      The Canadian Final DIP Recognition Order shall have been entered by
                             the Canadian Court and the Borrower, in its capacity as “foreign representative” on behalf
                             of the Debtors, shall have delivered to the Administrative Agent and the Required Lenders
                             a true and complete copy of such order, and such order shall and shall be in form and
                             substance satisfactory to the Required Lenders (and with respect to any provisions that
                             affect the rights or duties of any Agent, such Agent), be in full force and effect, and shall
                             not have been reversed, modified, amended, stayed or vacated absent prior written consent
                             of the Required Lenders (and with respect to any provisions that affect the rights or duties
                             of any Agent, such Agent).
                             Solely for purposes of determining whether the conditions set forth in Section 4.01 or 4.03
                             have been satisfied in respect of any Credit Extension after the Closing Date, the Agents
                             and each Lender party hereto shall be deemed to have consented to, approved, accepted or
                             be reasonably satisfied with any document delivered prior to such Credit Extension or other
                             matter (in each case, for which such consent, approval, acceptance or satisfaction is
                             expressly required by Section 4.01 or 4.03, as applicable) by releasing its signature page to
                             this Agreement or to an Assignment and Acceptance, as the case may be.
                             See DIP Credit Agreement, Section 4.01, 4.02, 4.03

    Interest Rates           The expected interest rate is 17.0% comprised of the current Prime Rate of 8.5% plus the
                             Applicable Margin.8




8      The interest rate is consistent with the interest rate under the Prepetition B-2 Credit Agreement, as adjusted for

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  Bankruptcy Code                                         Summary of Material Terms
Bankruptcy Rule           “Applicable Margin” shall mean, with respect to any Loan, a percentage per annum equal
4001(c)(1)(B)             to, 8.50%.
Local Rule                See DIP Credit Agreement, “Applicable Margin,” Section 1.01
4001-2(a)(ii)

Use of DIP Facility       The proceeds of the New Money Term Loans shall be applied strictly in accordance with
and Cash Collateral       the Approved Budget (subject to Permitted Variances). Proceeds of the Initial Loans, to
                          the extent authorized by the Bankruptcy Court, to pay the pre-petition accrued wages
Bankruptcy Rule
                          specified in the Initial Budget (subject to Permitted Variances). No part of the proceeds of
4001(b)(l)(B)(ii)
                          any Loan will be used, whether directly or indirectly in any manner that causes such Loan
Local Rule                or the application of such proceeds to violate the Regulations of the Board, including
4001-2(a)(ii)             Regulation T, Regulation U and Regulation X, or any other regulation thereof, or to violate
                          the Exchange Act.
                          No part part of the proceeds of any Loan, the Debtors’ Cash Collateral, or the Collateral
                          will be used:
                                   (i)    for any purpose that is prohibited under the Bankruptcy Code or the DIP
                          Order;
                                     (ii)  to investigate, commence, prosecute, or finance in any way (or reimburse
                          for expenses incurred or to be incurred in connection with) any action, suit, arbitration,
                          proceeding, application, motion, objection or other litigation adverse to the interests of any
                          or all of the Agents, the Lenders, the Prepetition B-2 Agent or the Prepetition B-2 Lenders
                          with respect to or related to: (A) the claims, liens or security interest of the Agents, the
                          Lenders, the Prepetition B-2 Agent or the Prepetition B-2 Lenders or their respective rights
                          and remedies under this Agreement, the other Loan Documents, the DIP Order or the
                          Prepetition B-2 Loan Documents, as the case may be, including to commence or prosecute
                          or join in any action against any or all of the Agents, the Lenders, the Prepetition B-2 Agent
                          or the Prepetition B-2 Lenders seeking (x) to avoid, subordinate or recharacterize the
                          Obligations or the Prepetition B-2 Obligations or any of the Collateral Agent’s or the
                          Prepetition B-2 Agent’s Liens, (y) any monetary, injunctive or other affirmative relief
                          against any or all of the Agents, the Lenders the Prepetition B-2 Agent or the Prepetition
                          B-2 Lenders or their Collateral or “Collateral” under (and as defined in) the Prepetition
                          B-2 Loan Documents) in connection with the Loan Documents or the Prepetition B-2
                          Loans Documents or (z) to prevent or restrict the exercise by any or all of the Agents, the
                          Lenders, the Prepetition B-2 Agent or the Prepetition B-2 Lenders of any of their respective
                          rights or remedies under the Loan Documents or the Prepetition B-2 Loan Documents, (B)
                          any claims, demands, liabilities, responsibilities, disputes, remedies, causes of action,
                          indebtedness or obligations that are subjects of the release set forth in Section 10.23 against
                          the Agents, the Lenders, Prepetition B-2 Lenders and the Prepetition B-2 Agent, (C) certain
                          stipulations to be made by the Loan Parties and approved by the DIP Order; or (D) any
                          other action which with the giving of notice or passing of time would result in an Event of
                          Default hereunder;
                                   (iii) other than in respect to UST Adequate Protection Payments or as otherwise
                          permitted pursuant to the Orders, for the payment of fees, expenses, interest or principal or
                          any other payment with respect to any Prepetition ABL Facility Indebtedness, Prepetition
                          UST Tranche A Facility Indebtedness or Prepetition UST Tranche B Facility Indebtedness;
                                   (iv)   to make any distribution under a Plan of Reorganization that is not an


   application of the default rate thereunder, and in recognition of the Debtors’ inability to borrow pursuant to SOFR.


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  Bankruptcy Code                                     Summary of Material Terms
                       Acceptable Plan;
                                (v)    except as contemplated by the Approved Budget, to make any payment to
                       (x) any board member of any Loan Party or any Affiliate thereof outside of the ordinary
                       course of business or (y) any equityholder of any Loan Party or any controlled Affiliate
                       thereof in any capacity (other than UST Adequate Protection Payments or as otherwise
                       permitted pursuant to the Orders); or
                                (vi) except as permitted by the Approved Budget (subject to Permitted
                       Variances) or the Loan Documents to make any payment in settlement of any claim, action
                       or proceeding (before any court, arbitrator or other governmental body) without the prior
                       written consent of the Required Lenders.
                       Nothing herein shall in any way prejudice or prevent the Administrative Agent or the
                       Lenders from objecting, for any reason, to any requests, motions, or applications made in
                       the Bankruptcy Court, including any application of final allowances of compensation for
                       services rendered or reimbursement of expenses incurred under Sections 105(a), 330 or
                       331 of the Bankruptcy Code, by any party in interest (and each such order shall preserve
                       the Administrative Agent’s and the Lenders’ right to review and object to any such
                       requests, motions or applications).
                       See DIP Credit Agreement, Section 6.16

“Roll-Up” Provisions   Upon entry of the Interim Order, the DIP Roll-Up Loans shall be rolled up, and converted
                       into DIP Obligations in an amount equal to (x) the Prepetition B-2 Obligations held by the
Local Rule 4001-
                       DIP Lenders (or their affiliates) (including, without limitation, accrued interest, exit fee,
2(a)(i)(E)
                       and accrued and unpaid reasonable and documented fees and out-of-pocket expenses of the
                       Prepetition B-2 Lenders (which are DIP Lenders) and their respective counsels) and (y)
                       any accrued and unpaid reasonable and documented out-of-pocket expenses of the
                       Prepetition B-2 Agent (as defined below) (including reasonable and documented counsel
                       fees and out-of-pocket expenses) (the “Roll-Up Amount”).
                       See Interim Order, Introduction

Adequate Protection    Pursuant to sections 361, 362, 363(e), 364(d)(1) and 507 of the Bankruptcy Code, as
Bankruptcy Rules       adequate protection of their respective interests in the Prepetition Collateral (including
4001(b)(l)(B)(iv),     Cash Collateral) for the aggregate Diminution in Value and as an inducement to the
4001(c)(1)(B)(ii)      Prepetition Secured Parties to consent to the priming of the Prepetition Liens and the use
                       of their Cash Collateral, the Prepetition Secured Parties are granted the following Adequate
                       Protection (collectively, the “Adequate Protection Obligations”):

                                (a)    Adequate Protection of Prepetition ABL Secured Parties.
                                        (i)     ABL Adequate Protection Liens. The Prepetition ABL Agent is
                              hereby granted, for the benefit of the Prepetition ABL Secured Parties, effective and
                              perfected upon the date of the Interim Order and without the necessity of the
                              execution of any mortgages, security agreements, pledge agreements, financing
                              statements or other agreements, a valid, perfected replacement security interest in
                              and lien on account of the Prepetition ABL Secured Parties’ Diminution in Value
                              upon all of the DIP Collateral (the “ABL Adequate Protection Liens”), (i) in the
                              case of the Prepetition ABL Priority Collateral, senior to all other liens, subject
                              solely to the Carve-Out and the Prepetition Permitted Senior Liens, (ii) in the case
                              of the Prepetition B-2 Priority Collateral, subject and subordinate to, in the
                              following order, (A) the Carve-Out and the Prepetition Permitted Senior Liens,
                              (B) the DIP Liens, (C) the B-2 Adequate Protection Liens (as defined below), and


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Bankruptcy Code                               Summary of Material Terms
                     (D) the Prepetition B-2 Liens, (iii) in the case of the Prepetition Joint Collateral and
                     Prepetition UST Tranche B Collateral, subject and subordinate to, in the following
                     order, (A) the Carve-Out and the Prepetition Permitted Senior Liens, (B) the UST
                     Tranche B Adequate Protection Liens (as defined below), (C) the Prepetition UST
                     Tranche B Liens, (D) the DIP Liens, (E) the B-2 Adequate Protection Liens, and
                     (F) the Prepetition B-2 Liens, and (iv) in the case of the Unencumbered Property,
                     subject and subordinate to, in the following order, (A) the Carve-Out and (B) the
                     DIP Unencumbered Property Liens.
                               (ii)       ABL Section 507(b) Claims. The Prepetition ABL Secured
                     Parties are hereby granted allowed superpriority administrative expense claims
                     against the Debtors on a joint and several basis (without the need to file any proof
                     of claim) on account of the Prepetition ABL Secured Parties’ Diminution in Value
                     under section 507(b) of the Bankruptcy Code (the “ABL 507(b) Claims”), which
                     ABL 507(b) Claims shall be payable from and have recourse to all DIP Collateral
                     and all proceeds thereof (excluding Avoidance Actions but including, without
                     limitation, Avoidance Proceeds). Except as otherwise provided herein, the ABL
                     507(b) Claims shall have priority over any and all administrative expenses and all
                     other claims against the Debtors now existing or hereafter arising, of any kind
                     whatsoever, including, without limitation, all administrative expenses of the kind
                     specified in sections 503(b) and 507(b) of the Bankruptcy Code, whether or not such
                     claims may become secured by a judgment lien or other non-consensual lien, levy
                     or attachment; provided, however, that (i) the ABL 507(b) Claims shall be junior to
                     the Carve-Out; (ii) the ABL 507(b) Claims shall be junior to the DIP Superpriority
                     Claims other than as set forth in clause (iii); (iii) with respect to the Prepetition ABL
                     Priority Collateral, the ABL 507(b) Claims shall be senior to, in the following order,
                     (A) the DIP Superpriority Claims, (B) the B-2 507(b) Claims (as defined below),
                     and (C) the UST Tranche B 507(b) Claims and the UST Tranche A 507(b) Claims
                     (as defined below); (iv) with respect to the Prepetition Joint Collateral and
                     Prepetition UST Tranche B Priority Collateral, the ABL 507(b) Claims shall be
                     junior to, in the following order, (A) the UST Tranche B 507(b) Claims, (B) the DIP
                     Superpriority Claims, and (C) the B-2 507(b) Claims; and (v) with respect to the
                     Prepetition B-2 Priority Collateral, the ABL 507(b) Claims shall be junior to, in the
                     following order, (A) the DIP Superpriority Claims and (B) the B-2 507(b) Claims.
                               (iii)   Prepetition ABL Secured Parties’ Interest, Fees, and Expenses.
                     As further adequate protection, subject to the Carve Out, the DIP Loan Parties shall
                     make current cash payments of (x) interest at the Default Rate (as defined in the
                     Prepetition ABL Credit Agreement), (y) fees with respect to Letters of Credit
                     pursuant to Section 3.2.2 of the Prepetition ABL Credit Agreement (including any
                     such fees that accrue at the default rate as set forth therein), and (z) other fees, in
                     each case pursuant to, due, and payable under the terms of the Prepetition ABL
                     Loan Documents, and shall currently pay in cash, subject to the review procedures
                     set forth in paragraph 16 of the Interim Order, all reasonable and documented
                     prepetition and postpetition fees and out-of-pocket expenses of the Prepetition ABL
                     Secured Parties’ legal and financial advisors, including, without limitation, those of
                     Choate, Hall & Stewart LLP, Richards, Layton & Finger, PA, AlixPartners, LLP,
                     and any local legal counsel or other advisors, consultants, and other professionals
                     reimbursable under the Prepetition ABL Loan Documents (collectively, the “ABL
                     Adequate Protection Fees and Expenses” and, together with the ABL Adequate
                     Protection Liens and ABL 507(b) Claims, the “ABL Adequate Protection
                     Obligations”).


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Bankruptcy Code                              Summary of Material Terms
                              (iv)     Additional Rights and Protections. The Debtors shall deliver to
                     the Prepetition ABL Agent (substantially concurrent with delivery to the DIP
                     Agent) all financial statements, reports, certificates and related items that are
                     required to be delivered to the DIP Agent pursuant to the DIP Credit Agreement.
                     On the third (3rd) business day of each week, the Debtors shall deliver to the
                     Prepetition ABL Agent a Borrowing Base Certificate (as defined in the Prepetition
                     ABL Credit Agreement) as required pursuant to Section 8.1(ii) of the Prepetition
                     ABL Credit Agreement, which shall be accompanied by customary backup
                     reporting in form and detail reasonably acceptable to the Prepetition ABL Agent,
                     including, without limitation, Account agings, and a roll-forward of Prepetition
                     ABL Priority Collateral; provided that the first Borrowing Base Certificate of each
                     month following entry of the Interim Order shall further include a line item for
                     Ineligible Accounts and a breakdown of Ineligible Accounts as part of the
                     customary backup reporting provided. The Debtors shall make the members of their
                     senior management and its professional advisors available for update calls at least
                     one time per calendar week with the prepetition ABL Agent and its respective
                     professional advisors, at times reasonably acceptable to the Prepetition ABL Agent
                     to discuss the cases, the then-current Approved Budget, the Budget Variance
                     Reports, the Liquidity Reports (each as defined in the DIP Credit Agreement), other
                     reporting delivered pursuant to Section 6.02 of the DIP Credit Agreement, union
                     matters, the status of any monetization strategies being pursued by the Debtors,
                     including pursuant to the Bidding Procedures Order (as defined in the DIP Credit
                     Agreement), and any other matters (including business, operational and due
                     diligence matters) reasonably requested by the Prepetition ABL Agent.
                       (b)    Adequate Protection of Prepetition B-2 Secured Parties.
                              (i)      B-2 Adequate Protection Liens. The Prepetition B-2 Agent is
                     hereby granted, for the benefit of the Prepetition B-2 Secured Parties, effective and
                     perfected upon the date of the Interim Order and without the necessity of the
                     execution of any mortgages, security agreements, pledge agreements, financing
                     statements or other agreements, a valid, perfected replacement security interest in
                     and lien on account of the Prepetition B-2 Secured Parties’ Diminution in Value
                     upon all of the DIP Collateral (the “B-2 Adequate Protection Liens”), (i) in the case
                     of the Prepetition B-2 Priority Collateral, subject and subordinate to, in the
                     following order, (A) the Carve-Out and the Prepetition Permitted Senior Liens and
                     (B) the DIP Liens, (ii) in the case of the Prepetition Joint Collateral and Prepetition
                     UST Tranche B Priority Collateral, subject and subordinate to, in the following
                     order, (A) the Carve-Out and the Prepetition Permitted Senior Liens, (B) the UST
                     Tranche B Adequate Protection Liens, (C) the Prepetition UST Tranche B Liens,
                     and (D) the DIP Liens; (iii) in the case of the Prepetition ABL Priority Collateral,
                     subject and subordinate to, in the following order, (A) the Carve-Out and the
                     Prepetition Permitted Senior Liens, (B) the ABL Adequate Protection Liens, (C) the
                     Prepetition ABL Liens, and (D) the DIP Liens, and (iv) in the case of the
                     Unencumbered Property, subject and subordinate to, in the following order, (A) the
                     Carve-Out and (B) the DIP Unencumbered Property Liens.
                              (ii)     B-2 Section 507(b) Claims. The Prepetition B-2 Secured Parties
                     are hereby granted allowed superpriority administrative expense claims against the
                     Debtors on a joint and several basis (without the need to file any proof of claim) on
                     account of the Prepetition B-2 Secured Parties’ Diminution in Value under section
                     507(b) of the Bankruptcy Code (the “B-2 507(b) Claims,” and together with the
                     ABL 507(b) Claims, the “507(b) Claims”), which B-2 507(b) Claims shall be

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  Bankruptcy Code                                   Summary of Material Terms
                            payable from and have recourse to all DIP Collateral and all proceeds thereof
                            (excluding Avoidance Actions but including, without limitation, Avoidance
                            Proceeds). Except as otherwise provided herein, the B-2 507(b) Claims shall have
                            priority over any and all administrative expenses and all other claims against the
                            Debtors now existing or hereafter arising, of any kind whatsoever, including,
                            without limitation, all administrative expenses of the kind specified in sections
                            503(b) and 507(b) of the Bankruptcy Code, whether or not such claims may become
                            secured by a judgment lien or other non-consensual lien, levy or attachment;
                            provided, however, that (i) the B-2 507(b) Claims shall be junior to the Carve-Out;
                            (ii) the B-2 507(b) Claims shall be junior to the DIP Superpriority Claims; (iii) with
                            respect to the Prepetition ABL Priority Collateral, the B-2 507(b) Claims shall be
                            junior to, in the following order, (A) the ABL 507(b) Claims and (B) the DIP
                            Superpriority Claims; (iv) with respect to the Prepetition Joint Collateral and
                            Prepetition UST Tranche B Priority Collateral, the B-2 507(b) Claims shall be
                            junior to, in the following order, (A) the UST Tranche B 507(b) Claims and (B) the
                            DIP Superpriority Claims; and (v) with respect to the Prepetition B-2 Priority
                            Collateral, the B-2 507(b) Claims shall be senior to, in the following order, (A) the
                            ABL 507(b) Claims and (B) the UST Tranche B 507(b) Claims and UST Tranche
                            A 507(b) Claims.
                                      (iii)    Prepetition B-2 Secured Parties’ Fees and Expenses. As further
                            adequate protection, the DIP Loan Parties shall currently pay in cash, subject to the
                            review procedures set forth in paragraph 16 of the Interim Order, all reasonable and
                            documented prepetition and postpetition fees and out-of-pocket expenses of the
                            Prepetition B-2 Secured Parties’ legal and financial advisors, including, without
                            limitation, those of (i) Milbank LLP, FTI Consulting, Inc., Cousins Law LLC, and
                            any local legal counsel or other advisors in any foreign jurisdiction and (ii) White
                            & Case LLP, as counsel to Beal Bank USA and any local legal counsel or other
                            advisors in any foreign jurisdiction (provided, with respect to each (i) and (ii),
                            respectively, no more than one local legal counsel or other advisor in any foreign
                            jurisdiction) (collectively, the “B-2 Adequate Protection Fees and Expenses” and,
                            together with the B-2 Adequate Protection Liens and B-2 507(b) Claims, the “B-2
                            Adequate Protection Obligations”).
                              (c)    Adequate Protection of Prepetition UST Tranche A Secured Parties and
                     Adequate Protection of Prepetition UST Tranche B Secured Parties. The Adequate
                     Protection in favor of the Prepetition UST Secured Parties is set forth in the Interim UST
                     Cash Collateral Order.
                     See Interim Order ¶ 12

Repayment Features   The Borrower shall repay to the Administrative Agent, for the ratable account of the Term
Local Rule           Lenders on the Maturity Date, the aggregate principal amount of all Term Loans
4001-2(a)(i)(E)      outstanding on such date, together with all accrued and unpaid interest on the principal
                     amount (to be paid to but excluding the date of such payment) and all fees and expenses
                     payable under the Loan Documents hereunder and other outstanding Obligations.
                     See DIP Credit Agreement, Section 2.11

Fees                 The Borrower agrees to pay to (i) the Agents, for their own account, the administrative
                     agent and collateral agents fees applicable to the Facilities payable in the amounts and at
Bankruptcy Rule
                     the times agreed upon between the Borrower and the Administrative Agent as set forth in
4001(c)(1)(B)
                     the Agency Fee Letter and (ii) the Administrative Agent, for the account of the Lenders,


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  Bankruptcy Code                                      Summary of Material Terms
Local Rule 4001-       the fees applicable to the Facilities in the amounts, in the manner and at the times set forth
2(a)(ii)               in the Fee Letter (the “Fees”).
                       All Fees shall be paid on the dates due, in immediately available funds, to the
                       Administrative Agent. Once paid, none of the Fees shall be refundable under any
                       circumstances.
                       See DIP Credit Agreement, Section 2.05; see also Fee Letter, providing:
                       As consideration for the Lenders providing the DIP Facility, the Company hereby agrees
                       to pay (or cause to be paid) to the Administrative Agent, for the ratable account of the
                       Lenders, a closing fee (the “DIP Closing Fee”) in an aggregate amount equal to:
                       (a)     $7,125,000 (the “Fixed Amount”); and
                       (b)     an amount (the “Variable Amount”) equal to:
                              (i)    the product of (A) the DIP Facility Amount multiplied by (B) a percentage
                              representing the sum of (x) if any Obligations under the Credit Agreement are
                              outstanding on September 8, 2023, 2.50%, plus (y) if any Obligations under the
                              Credit Agreement are outstanding on September 29, 2023, 2.50%, plus (z) if any
                              Obligations under the Credit Agreement are outstanding on the second day after the
                              scheduled Maturity Date pursuant to clause (i) of the definition of the term
                              “Maturity Date” under the Credit Agreement, 2.50%; minus
                              (ii)    the Fixed Amount.

Budget                 Following delivery of the Budget on the Petition Date, not later than 5:00 p.m. New York
Bankruptcy Rule 4001   time on the third Business Day of the last full calendar week of each month (commencing
(c)(1)(B)              with August 30, 2023) occurring after the Closing Date (the “Updated Budget Deadline”),
                       a supplement to, for the first such supplement, the Initial Budget, and for each supplement
Local Rule             thereafter, the most-recently delivered Updated Budget (each such supplement which is
4001-2(a)(ii)          approved in accordance with the terms of this clause (l), an “Updated Budget”), prepared
                       by management of the Borrower in consultation with the Borrower’s Operational Advisor
                       covering the 13-week period that commences with the Saturday of the calendar week that
                       includes such Updated Budget Deadline, consistent with the form and level of details set
                       forth in the Initial Budget. Each Updated Budget shall be, in each case, subject to the
                       written approval of the Required Lenders (in their sole discretion); provided that, if the
                       Required Lenders shall have not provided written approval of any proposed budget
                       supplement prior to 5:00 (New York City time) on the third Business Day after receipt
                       thereof (the “Budget Review Time”), the Required Lenders shall be deemed to have
                       accepted such proposed budget supplement; provided further that, (i) if the Required
                       Lenders object in writing to any proposed budget supplement prior to the Budget Review
                       Time, no proposed budget supplement covering the 13-week period covered by such
                       rejected budget supplement shall become an Updated Budget until and unless the Required
                       Lenders approve thereof in writing (in their sole and absolute discretion), and (ii) the prior
                       Approved Budget shall remain in effect until such time as the Required Lenders so approve
                       a revised budget supplement in accordance with the foregoing sub-clause (i). As used
                       herein, the “Approved Budget” shall mean (i) initially, the Initial Budget and (ii) thereafter,
                       upon (and subject to) the approval (or deemed approval) of any Updated Budget by the
                       Required Lenders in accordance with the foregoing procedures, such Updated Budget.
                       See DIP Credit Agreement, Section 6.02(k).




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 Bankruptcy Code                                  Summary of Material Terms
Variance Covenant   Commencing with the Budget Variance Test Date occurring on Friday, August 18, 2023,
Bankruptcy Rule     and on each Budget Variance Test Date occurring thereafter, the Borrower shall not, nor
4001(c)(l)(B)       shall it permit any of its Subsidiaries to, permit:
Local Rule 4001-            (a)     the sum of the actual aggregate cash receipts of the Borrower and its
2(a)(ii)            Subsidiaries (excluding proceeds of the Term Loans) for the Budget Variance Test Period
                    ending immediately prior to such Budget Variance Test Date to be less than the Permitted
                    Variance Percentage of the aggregate amount set forth for the line item in the Approved
                    Budget entitled “Total Receipts” for such Budget Variance Test Period; or
                            (b)     the sum of the actual aggregate operating disbursements of the Borrower
                    and its Subsidiaries for the Budget Variance Test Period ending immediately prior to such
                    Budget Variance Test Date to be greater than Permitted Variance Percentage of the
                    aggregate amount set forth for the line item in the Approved Budget entitled “Total
                    Operating Disbursements” for such Budget Variance Test Period; or
                            (c)     the sum of the actual aggregate amounts paid by the Borrower and its
                    Subsidiaries with respect to severance and accrued pre-petition wages for the Budget
                    Variance Test Period ending immediately prior to such Budget Variance Test Date to be
                    greater than Permitted Variance Percentage of the aggregate amount set forth for the line
                    items in the Approved Budget entitled “Severance” and “Accrued Pre-Petition Wages” for
                    such Budget Variance Test Period; or
                            (d)     the sum of the actual aggregate disbursements of the Borrower and its
                    Subsidiaries with respect to lienholders and on account of taxes and other restructuring
                    costs for the Budget Variance Test Period ending immediately prior to such Budget
                    Variance Test Date to be greater than Permitted Variance Percentage of the aggregate
                    amount set forth for the line items in the Approved Budget entitled “Prepetition Vendors
                    & Taxes” for such Budget Variance Test Period; or
                            (e)    the sum of the actual amount of fees incurred by professionals of any
                    unsecured creditors committee in the Chapter 11 Cases and of the Borrower and its
                    Subsidiaries ending immediately prior to such Budget Variance Test Date to be greater
                    than Permitted Variance Percentage of the amount set forth for the line item in the
                    Approved Budget entitled “Professional Fees Reserve” for such Budget Variance Test
                    Period.
                    To the extent that any Budget Variance Test Period encompasses a period that is covered
                    in more than one Approved Budget, the applicable weeks from each applicable Approved
                    Budget shall be utilized in making the calculations pursuant to this Section 7.11.
                    “Permitted Variance Percentage” shall mean:
                              (a) with respect to Section 7.11(a), (i) with respect to the Budget Variance
                     Test Period ending on August 11, 2023, 80%, (b) with respect to the Budget Variance
                     Period ending on August 18, 2023, 85%, and (c) with respect to each Budget Variance
                     Period ending thereafter, 90%;
                             (b) with respect to Sections 7.11(b) through (d), (i) with respect to the Budget
                     Variance Test Period ending on August 11, 2023, 120%, (ii) with respect to the Budget
                     Variance Period ending on August 18, 2023, 115%, and (iii) with respect to each Budget
                     Variance Period ending thereafter, 110%; and
                             (c)   with respect to Section 7.11(e), 120%.
                     See DIP Credit Agreement, “Permitted Variance Percentage,” Sections 1.01, 7.11.



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  Bankruptcy Code                                    Summary of Material Terms
Events of Default   Any of the following from and after the Closing Date shall constitute an event of default
Bankruptcy Rule     (each, an “Event of Default”):
4001(c)(l)(B)                 (a)     Non-Payment. Any Loan Party fails to pay (i) when and as required to be
Local Rule          paid herein or in any other Loan Document, any amount of principal of any Loan, (ii)
4001-2(a)(ii)       within three (3) Business Days after the same becomes due, any interest on any Loan or
                    (iii) within five (5) Business Days after the same becomes due, any other amount payable
                    hereunder or with respect to any other Loan Document; or
                              (b)    Specific Covenants. The Borrower fails to perform or observe any term,
                    covenant or agreement contained in any of (i) Sections 6.03(a) (provided that the delivery
                    of a notice of Default or Event of Default at any time will cure an Event of Default under
                    Section 6.03(a) arising from the failure of the Borrower to timely deliver such notice of
                    Default or Event of Default), 6.05(a) (solely with respect to the Borrower), 6.13(c), 6.14,
                    6.16, 6.17 or Article 7 or (ii) Section 6.01 or 6.02 and, in the case solely of this clause (ii),
                    such failure continues for two Business Days after the earlier of (A) a Responsible Officer
                    of the Borrower becoming aware of such default and (B) receipt by the Borrower of written
                    notice thereof from the Administrative Agent or the Required Lenders; or
                             (c)   Other Defaults. Any Loan Party fails to perform or observe any other term,
                    covenant or agreement (not specified in Section 8.01(a) or (b) above) contained in any
                    Loan Document on its part to be performed or observed and such failure continues for
                    fifteen (15) days after receipt by the Borrower of written notice thereof from the
                    Administrative Agent or the Required Lenders; or
                              (d)     Representations and Warranties.       Any representation, warranty,
                    certification or statement of fact made or deemed made by or on behalf of the Borrower or
                    any other Loan Party herein, in any other Loan Document, or in any Compliance Certificate
                    or other document required to be delivered in connection herewith or therewith shall be
                    incorrect or misleading in any material respect when made or deemed made; or
                              (e)    Cross-Default. Except as a result of the events leading up to or resulting
                    from the commencement of the Chapter 11 Cases, the ceasing of operations, the
                    commencement of the Chapter 11 Cases, the Canadian Recognition Proceedings or entry
                    into this Agreement and unless the payment, acceleration and/or the exercise of remedies
                    with respect to any such Indebtedness is stayed by the Bankruptcy Court or the Canadian
                    Court, any Loan Party or any Subsidiary (i) fails to make any payment after the applicable
                    grace period with respect thereto, if any, (whether by scheduled maturity, required
                    prepayment, acceleration, demand, or otherwise) in respect of any other prepetition
                    Indebtedness (other than Indebtedness hereunder and, for the avoidance of doubt,
                    excluding Prepetition Indebtedness) having an outstanding aggregate principal amount of
                    not less than the Threshold Amount or (ii) fails to observe or perform any other agreement
                    or condition relating to any such prepetition Indebtedness, or any other event occurs (other
                    than, with respect to Indebtedness consisting of Swap Contracts, termination events or
                    equivalent events pursuant to the terms of such Swap Contracts and not as a result of any
                    other default thereunder by any Loan Party), after all grace periods having expired and all
                    required notices having been given, the effect of which default or other event is to cause,
                    or to permit the holder or holders of such Indebtedness (or a trustee or agent on behalf of
                    such holder or holders or beneficiary or beneficiaries) to cause, after all grace periods
                    having expired and all required notices having been given, such prepetition Indebtedness
                    to become due or to be repurchased, prepaid, defeased or redeemed (automatically or
                    otherwise), or an offer to repurchase, prepay, defease or redeem such Indebtedness to be
                    made, prior to its stated maturity; or



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Bankruptcy Code                                    Summary of Material Terms
                           (f)    [Reserved]; or
                           (g)    [Reserved]; or
                            (h)    Judgments. Except as a result of the events leading up to or resulting from
                  the commencement of the Chapter 11 Cases or the Canadian Recognition Proceedings, the
                  commencement of the Chapter 11 Cases or the Canadian Recognition Proceedings or entry
                  into this Agreement and unless any such judgment is stayed by the Bankruptcy Court or
                  the Canadian Court, there is entered against any Loan Party or any Subsidiary a final
                  judgment or order for the payment of money in an aggregate amount exceeding the
                  Threshold Amount (to the extent not covered by independent third-party insurance or
                  indemnity as to which the insurer or third party indemnitor has been notified of such
                  judgment or order and has not denied coverage) and such judgment or order shall not have
                  been satisfied, vacated, discharged or stayed or bonded pending an appeal for a period of
                  sixty (60) consecutive days; or
                             (i)    Invalidity of Loan Documents. Any material provision of the Loan
                  Documents, at any time after their execution and delivery and for any reason other than as
                  expressly permitted hereunder or thereunder (including as a result of a transaction
                  permitted under Section 7.04 or 7.05) or as a result of acts or omissions by the
                  Administrative Agent or Collateral Agent or any Lender or the satisfaction in full of all the
                  Obligations (other than other than contingent obligations), ceases to be in full force and
                  effect; or any Loan Party contests in writing the validity or enforceability of any provision
                  of any Loan Document; or any Loan Party denies in writing that it has any or further
                  liability or obligation under any Loan Document (other than as a result of repayment in full
                  of the Obligations), or purports in writing to revoke or rescind any Loan Document; or
                           (j)    Change of Control. There occurs any Change of Control; or
                            (k)    Collateral Documents. The Orders (and, in the case of the Canadian
                  Collateral, the Canadian DIP Recognition Order) and the Collateral Documents after
                  delivery thereof pursuant to Sections 4.02 or 6.13 shall for any reason (other than pursuant
                  to the terms hereof or thereof including as a result of a transaction permitted under Section
                  7.04 or 7.05) cease to create, or shall be asserted by any Loan Party not to create, a valid
                  and perfected Lien, on and security interest in the Collateral, with the priority required
                  herein and in the DIP Order, subject to Liens permitted under Section 7.01; or
                           (l)    ERISA. The occurrence of an ERISA Event pursuant to clause (r) of the
                  definition of such term that has resulted or could reasonably be expected to result in a
                  Material Adverse Effect;
                           (m)    [Reserved]; or
                           (n)    [Reserved]; or
                           (o)    The Chapter 11 Cases.
                                  (i)      A Final Order shall not have been entered by the Bankruptcy
                         Court on or before the date that is 30 days after the entry of the Interim Order, which
                         Final Order shall be in full force and effect and shall not have been reversed,
                         modified, amended, stayed, vacated, appealed or subject to pending appeal or
                         otherwise challenged or subject to any challenge in any respect without prior
                         consent of the Required Lenders; or
                                   (ii)    Any Chapter 11 Cases or Canadian Recognition Proceedings
                         shall be dismissed (or the Bankruptcy Court or Canadian Court, as applicable, shall
                         make a ruling requiring the dismissal of any Chapter 11 Case or Canadian

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Bankruptcy Code                               Summary of Material Terms
                     Recognition Proceedings), suspended or converted to a case under chapter 7 of the
                     Bankruptcy Code, or any Loan Party shall file any pleading requesting any such
                     relief; or a motion shall be filed by any Loan Party for the approval of, or there shall
                     arise, (x) any other Claim having priority senior to or pari passu with the claims of
                     the Administrative Agent and Lenders under the Loan Documents or any other
                     claim having priority over any or all administrative expenses of the kind specified
                     in clause (b) of Section 503 or clause (b) of Section 507 of the Bankruptcy Code
                     (other than the Carve-Out and the Canadian Priority Charges (in a maximum
                     amount not to exceed CDN$1,700,000) pursuant to the Canadian Orders to the
                     extent set forth in the Canadian DIP Recognition Order and the Canadian Orders)
                     or (y) any Lien on the Collateral having a priority senior to or pari passu with the
                     Liens and security interests granted herein, except as expressly provided herein and
                     in the DIP Order and in the Canadian Orders; or
                              (iii)     Any Loan Party shall file motion in the Chapter 11 Cases to
                     obtain additional or replacement financing from a party other than Lenders under
                     Section 364(d) of the Bankruptcy Code or to use Cash Collateral of a Lender under
                     Section 363(c) of the Bankruptcy Code, except to the extent any such financing
                     shall provide for the payment in full in cash of the Obligations and all Prepetition
                     B-2 Obligations outstanding or with the prior written consent of the Required
                     Lenders; or
                               (iv)     Any Loan Party shall file a motion seeking, or the Bankruptcy
                     Court or the Canadian Court shall enter, an order (A) approving payment of any
                     pre-petition claim (or the Loan Party shall otherwise make a payment on any
                     prepetition claim) other than (x) as provided for in (i) the First Day Orders or
                     Second Day Orders or the Canadian Orders or (ii) the Approved Budget (subject to
                     Permitted Variances) or (y) otherwise consented to by the Required Lenders in
                     writing, (B) granting relief from the automatic stay applicable under section 362 of
                     the Bankruptcy Code to any holder of any security interest to permit foreclosure on
                     any assets with a fair market value in excess of $250,000; or (C) except with respect
                     to the Prepetition B-2 Term Loan Credit Agreement as provided in the Orders, and
                     the other adequate protections set forth in the Orders and the UST Cash Collateral
                     Orders, approving any settlement or other stipulation not approved by the Required
                     Lenders and not included in the Approved Budget with any secured creditor of any
                     Loan Party providing for payments as adequate protection or otherwise to such
                     secured creditor; or
                              (v)      (A) Any Chapter 11 Order shall be amended, supplemented,
                     stayed, reversed, vacated or otherwise modified (or any Loan Party shall apply for
                     authority to do so), in each case, in a manner adverse to the Required Lenders,
                     without the written consent of the Required Lenders (or any Loan Party shall file,
                     or otherwise support, any pleading seeking such relief described in this clause (v))
                     or (B) any Chapter 11 Order shall cease to be in full force and effect; or
                              (vi)    An order with respect to any of the Chapter 11 Cases or Canadian
                     Recognition Proceedings shall be entered by the Bankruptcy Court or Canadian
                     Court, as applicable, without the express prior written consent of the Required
                     Lenders (and, with respect to any provisions that adversely affect the rights or
                     duties of any Agent, such Agent) (i) to revoke, reverse, stay, modify, supplement,
                     vacate or amend any of the DIP Order or Canadian Orders in a manner inconsistent
                     with this Agreement, in a manner adverse to the Lenders, or that is not otherwise
                     consented to by the Required Lenders (and with respect to amendments,


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                     modifications, or supplements that adversely affect the rights or duties of any Agent,
                     such Agent); (ii) to permit any administrative expense or any claim (now existing
                     or hereafter arising, of any kind or nature whatsoever) to have administrative
                     priority as to the Loan Parties equal or superior to the priority of the Loans (other
                     than the Carve-Out and the Canadian Priority Charges (in a maximum amount
                     not to exceed CDN$1,700,000) pursuant to the Canadian Orders to the extent set
                     forth in the Canadian DIP Recognition Order and the Canadian Orders)) or the
                     adequate protection Claims (other than the Carve-Out and the Canadian Priority
                     Charges (in a maximum amount not to exceed CDN$1,700,000, on the Canadian
                     Collateral) pursuant to the Canadian Orders to the extent set forth in the Canadian
                     DIP Recognition Order and the Canadian Orders or the administrative expense
                     claims on account of the DIP Facility); or (iii) to grant or permit the grant of a Lien
                     on the Collateral; or
                                (vii)    An application for any of the orders described in subclauses (ii),
                     (iv), (vi), (x), (xvii) and (xviii) of this clause (o) shall be made by a Person other
                     than the Loan Parties, and such application is not contested by the Loan Parties in
                     good faith or any Person obtains a non-appealable final order charging any of the
                     Collateral under section 506(c) of the Bankruptcy Code against any Agent or the
                     Lenders or obtains a final order adverse to any Agent or the Lenders; or
                              (viii)    The Bankruptcy Court enters a Bidding Procedures Order that
                     permits the sale of less than all of the Debtors’ assets; provided, assets may be sold
                     across various transactions and to various purchasers(x) if all such transactions are
                     actually consummated and generate Net Proceeds in an aggregate amount sufficient
                     to repay the Obligations in full or (y) with the prior written consent of the Required
                     Lenders; or
                              (ix)     Any of the Loan Parties shall fail to comply with the terms and
                     conditions of any Chapter 11 Order in any material respect, and such failure is not
                     cured within two (2) Business Days of knowledge thereof; or
                                (x)     The Bankruptcy Court shall enter an order appointing a trustee
                     under Chapter 7 or Chapter 11 of the Bankruptcy Code, or a responsible officer or
                     an examiner with enlarged powers relating to the operation of the business (powers
                     beyond those set forth in subclauses (3) and (4) of clause (a) of Section 1106 of the
                     Bankruptcy Code) under clause (b) of Section 1106 of the Bankruptcy Code in the
                     Chapter 11 Cases (or any Loan Party or any of its Subsidiaries or Affiliates shall
                     file, or otherwise support, any pleading seeking such relief described in this clause
                     (x)); or
                              (xi)     The entry of an order by the Bankruptcy Court terminating or
                     modifying the exclusive right of any Debtor to file a Plan of Reorganization
                     pursuant to section 1121 of the Bankruptcy Code, without the prior written consent
                     of the Required Lenders; or
                              (xii)     The Loan Parties or any of their controlled Affiliates shall support
                     (in any such case by way of any motion or other pleading filed with the Bankruptcy
                     Court or any other writing to another party-in-interest executed by or on behalf of
                     the Loan Parties or any of their Subsidiaries) any other Person’s opposition of any
                     motion made in the Bankruptcy Court by the Lenders seeking confirmation of the
                     amount of the Lenders’ claim or the validity and enforceability of the Liens in favor
                     of the Collateral Agent; or
                              (xiii)   (A) The Loan Parties or any of their Affiliates shall seek to, or

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                     shall support (in any such case by way of any motion or other pleading filed with
                     the Bankruptcy Court or any other writing to another party-in-interest executed by
                     or on behalf of the Loan Parties or any of their Subsidiaries) any other Person’s
                     motion to, disallow in whole or in part the Lenders’ claim in respect of the
                     Obligations or to challenge the validity and enforceability of the Liens in favor of
                     the Collateral Agent or contest any material provision of any Loan Document, (B)
                     any Loan Party shall attempt to invalidate, reduce or otherwise impair the Liens or
                     security interests of the Collateral Agent or the Lenders or to subject any Collateral
                     to assessment pursuant to section 506(c) of the Bankruptcy Code, (C) any Liens on
                     the Collateral and/or super-priority claims shall otherwise, for any reason, cease to
                     be valid, perfected and enforceable in all respects, (D) any action is commenced by
                     the Loan Parties that contests the validity, perfection or enforceability of any of the
                     Liens and security interests of the Collateral Agent or the Lenders created by the
                     DIP Order or the Loan Documents, or (E) any material provision of any Loan
                     Document shall cease to be effective; or
                             (xiv)     Any judgments which are in the aggregate in excess of
                     $2,500,000 as to any postpetition obligation shall be rendered against any of the
                     Loan Parties and the enforcement thereof shall not be stayed; or
                              (xv)     (A) The Loan Parties or any of their Affiliates shall file any
                     pleading or proceeding results in a material impairment of the rights or interests of
                     the Lenders or (B) entry of an order of the Bankruptcy Court with respect to any
                     pleading or proceeding brought by any other Person which results in such a material
                     impairment of the rights or interests of the Lenders; or
                              (xvi)    Any Loan Party or any of their Affiliates shall have filed a motion
                     seeking the entry of, or the Bankruptcy Court or Canadian Court shall have entered,
                     an order approving a payment to any Person (whether in cash or other property or
                     whether as adequate protection, settlement of a dispute, or otherwise) that would be
                     materially inconsistent with the treatment of any such Person under the Approved
                     Budget or First Day Orders or Second Day Orders, without the prior written consent
                     of the Required Lenders; or
                              (xvii) Any Loan Party files or publicly announces its intention to file a
                     Plan of Reorganization that is not an Acceptable Plan, without the prior written
                     consent of the Required Lenders;
                             (xviii) An order shall be entered by the Bankruptcy Court transferring
                     the Chapter 11 Cases to any other court; or
                              (xix)    [Reserved]; or
                               (xx)     The Bankruptcy Court shall enter an order approving any sale of
                     the Debtors’ assets (the “Sale Order”) that (A) is not final and non-appealable, (B)
                     approves a sale other than (x) a sale of all assets pursuant to a credit bid of the DIP
                     Facility or (y) a sale that generates Net Proceeds in respect of the Term Priority
                     Collateral sufficient to repay all outstanding Obligations, or (C) does not provide
                     for all cash proceeds in respect of the Term Priority Collateral from a sale pursuant
                     to clause (B)(y) to be used first to promptly fund, subject to the Carve-Out and the
                     Canadian Priority Charges, the repayment of all outstanding Obligations (including,
                     in each case, fees); or
                             (xxi)   To the extent the Bankruptcy Court enters the Sale Order, the
                     Canadian Court refuses to grant an order of the Canadian Court in the Canadian


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                           Recognition Proceedings, which order shall recognize the Sale Order under Part IV
                           of the CCAA; or
                                    (xxii) The Bidding Procedures Order or the Sale Order is amended,
                           supplemented, or otherwise modified in a manner adverse in any material respect
                           without the prior written consent of the Required Lenders; or
                                    (xxiii) The occurrence of a “Cash Collateral Termination Event” (or
                           similar event) under the UST Adequate Protection Order or the DIP Order; or
                                    (xxiv) Any Loan Party or any of their Affiliates shall have filed a motion
                           seeking the entry of, or the Bankruptcy Court or Canadian Court shall have entered,
                           an order approving a payment to any person that would be inconsistent with the
                           Approved Budget (subject to Permitted Variances); or the proceeds of any Loan
                           shall have been expended in a manner that is not in accordance with the Approved
                           Budget (subject to Permitted Variances); or
                                    (xxv) The filing of any Plan of Reorganization that does not propose to
                           repay the Obligations in full in cash; or
                                    (xxvi) The withdrawal or termination of any binding bid received by the
                           Debtors pursuant to the Bidding Procedures Order, without the consent of the
                           Required Lenders (to the extent such withdrawal would have created a breach under
                           the Milestones); or
                                   (xxvii) Failure to meet a Chapter 11 Milestone when required, unless
                           extended or waived in writing (which may be via email) by the Required Lenders;
                           or
                                    (xxviii) The Loan Parties terminate the FTI Letter without the prior
                           written consent of the Prepetition B-2 Lenders and the Lenders that are advised by
                           FTI under the FTI Letter.
                    See DIP Credit Agreement, Section 8.01

Indemnification     The Borrower agrees (i) promptly following (and in any event within thirty (30) days of)
Bankruptcy Rule     written demand (including documentation reasonably supporting such request) therefor,
4001(c)(1)(B)(ix)   to pay or reimburse the Prepetition B-2 Agent and Prepetition B-2 Lenders for all unpaid
                    reasonable and documented out-of-pocket costs and expenses (including Attorney Costs)
                    incurred under the Prepetition B-2 Loan Documents (which, for the avoidance of doubt,
                    shall be limited to the documented fees and expenses of Milbank LLP, FTI Consulting
                    Inc., Cousins Law LLC and White & Case LLP), (ii) promptly following (and in any event
                    within thirty (30) days of) written demand (including documentation reasonably
                    supporting such request) therefor, to pay or reimburse the Administrative Agent, the
                    Collateral Agent and the Lenders for all reasonable and documented out-of-pocket costs
                    and expenses (which, for the avoidance of doubt, shall be limited to the documented fees
                    and expenses of Milbank LLP, FTI Consulting Inc., Cousins Law LLC and White & Case
                    LLP) incurred in connection with the preparation, negotiation and execution of this
                    Agreement and the other Loan Documents, and any amendment, waiver, consent or other
                    modification of the provisions hereof and thereof (whether or not the transactions
                    contemplated thereby are consummated), and the consummation and administration of
                    the transactions contemplated hereby and thereby (including Attorney Costs which in the
                    case of the Agents, shall be limited to Attorney Costs of one counsel to the Agents) and
                    (iii) from and after the Closing Date, promptly following (and in any event within thirty
                    (30) days of) written demand (including documentation reasonably supporting such


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                  request) therefor, to pay or reimburse the Administrative Agent, the Collateral Agent,
                  Apollo and each Lender promptly following written demand for all reasonable and
                  documented out-of-pocket costs and expenses (which, for the avoidance of doubt, shall
                  be limited to the documented fees and expenses of Milbank LLP, FTI Consulting Inc.,
                  Cousins Law LLC and White & Case LLP) incurred in connection with the enforcement
                  (whether through negotiations, legal proceedings or otherwise) of any rights or remedies
                  under this Agreement or the other Loan Documents (including all such out-of-pocket costs
                  and expenses incurred during any legal proceeding, including any proceeding under any
                  Debtor Relief Law, and including all respective Attorney Costs (which in the case of the
                  Agents, shall be limited to Attorney Costs of one counsel to the Agents). To the extent
                  otherwise reimbursable by the foregoing sentence of this section, the foregoing costs and
                  expenses shall include all reasonable search, filing, recording, title insurance, survey,
                  environmental, property condition report and zoning report charges and fees related
                  thereto, and other reasonable and documented out of pocket expenses incurred by any
                  Agent. The foregoing costs and expenses shall also include all mortgage recording,
                  recording and filing fees charged by governmental authorities to record and/or file
                  Collateral Documents.

                  Whether or not the transactions contemplated hereby are consummated, the Loan Parties
                  shall, jointly and severally, indemnify and hold harmless the Administrative Agent, the
                  Collateral Agent and their respective Affiliates, successors and permitted assigns (or the
                  directors, officers, employees, agents, advisors and members of each of the foregoing)
                  (each an “Agent Indemnitee” and collectively, the “Agent Indemnitees”) and each Lender
                  and their respective Affiliates, successors and permitted assigns (or the directors, officers,
                  employees, agents, advisors and members of each of the foregoing) (each a “Lender
                  Indemnitee” and collectively, the “Lender Indemnitees”; together with, the Agent
                  Indemnitees, collectively the “Indemnitees”) from and against any and all actual losses,
                  damages, claims, liabilities and reasonable documented out-of-pocket costs and expenses
                  (including Attorney Costs which shall be limited to Attorney Costs of one outside counsel
                  for the Agent Indemnitees and Attorney Costs of one outside counsel for the Lender
                  Indemnitees (and, if necessary, one local counsel in each applicable jurisdiction and, in
                  the event of any actual or reasonably perceived conflict of interest, one additional counsel
                  for each type of similarly situated affected Indemnitees)) of any kind or nature whatsoever
                  which may at any time be imposed on, incurred by or asserted against any Agent
                  Indemnitee or Lender Indemnitee in any way relating to or arising out of or in connection
                  with (i) the execution, delivery, enforcement, performance or administration of any Loan
                  Document or any other agreement, letter or instrument delivered in connection with the
                  transactions contemplated thereby or the consummation of the Transactions or the other
                  transactions contemplated thereby, (ii) any Commitment or Loan or the use or proposed
                  use of the proceeds therefrom, (iii) any actual or alleged presence or Release of Hazardous
                  Materials at, on, under or from any property, vehicle or facility currently or formerly
                  owned, leased or operated by the Loan Parties or any Subsidiary, or any other
                  Environmental Liability related in any way to any Loan Parties or any Subsidiary, or (iv)
                  any actual or prospective claim, litigation, investigation or proceeding relating to any of
                  the foregoing, whether based on contract, tort or any other theory (including any
                  investigation of, preparation for, or defense of any pending or threatened claim,
                  investigation, litigation or proceeding) and regardless of whether any Agent Indemnitee
                  or Lender Indemnitee is a party thereto and regardless of whether such matter is initiated
                  by a third party or by the Borrower or any of its Affiliates or equityholders in all cases,
                  whether or not caused by or arising, in whole or in part, out of the negligence of any such
                  Agent Indemnitee or Lender Indemnitee; provided that, notwithstanding the foregoing,


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                  such indemnity shall not, as to any Indemnitee, be available to the extent that such losses,
                  damages, claims, liabilities and expenses resulted from (x) the gross negligence, bad faith
                  or willful misconduct of such Indemnitee or of any affiliate, director, officer, employee,
                  counsel, agent or attorney-in-fact of such Indemnitee, as determined by the final non-
                  appealable judgment of a court of competent jurisdiction or (y) any dispute solely among
                  the Indemnitees other than (1) any claim against an Indemnitee in its capacity or in
                  fulfilling its role as Administrative Agent, Collateral Agent or similar role and (2) any
                  claim arising out of any act or omission of the Borrower or any of its Affiliates. No
                  Indemnitee or any other party hereto shall be liable for any damages arising from the use
                  by others of any information or other materials obtained through IntraLinks or other
                  similar information transmission systems in connection with this Agreement except to the
                  extent that such damages resulted from the (A) gross negligence, bad faith or willful
                  misconduct of such Indemnitee or of any affiliate, director, officer, employee, counsel,
                  agent or attorney-in-fact of such Indemnitee, as determined by the final non-appealable
                  judgment of a court of competent jurisdiction or (B) the material breach by such
                  Indemnitee of its or of any affiliate, director, officer, employee, counsel, agent or attorney-
                  in-fact of such Indemnitee’s obligations under the Loan Documents, as determined by the
                  final non-appealable judgment of a court of competent jurisdiction. In the case of a claim,
                  investigation, litigation or other proceeding to which the indemnity in this Section 10.05
                  applies, such indemnity shall be effective whether or not such claim, investigation,
                  litigation or proceeding is brought by any Loan Party, any Subsidiary of any Loan Party,
                  any Loan Party’s directors, stockholders or creditors or other Affiliates or an Indemnitee
                  or any other Person, whether or not any Indemnitee is otherwise a party thereto and
                  whether or not any of the transactions contemplated hereunder or under any of the other
                  Loan Documents are consummated. For the avoidance of doubt, this paragraph shall not
                  apply with respect to Taxes other than any Taxes that represent losses, claims, damages,
                  etc. arising from any non-Tax claim.

                  To the extent the Agent Indemnitees are not reimbursed and indemnified by the Loan
                  Parties, and without limiting the obligation of the Loan Parties to do so, the Lenders shall
                  indemnify and hold harmless the Agent Indemnities, based on and to the extent of such
                  Lender’s pro rata share (determined as of the time that the applicable unreimbursed
                  expense or indemnity payment is sought), from and against any and all losses, claims,
                  damages, liabilities and related expenses (including Attorney Costs which shall be limited
                  to Attorney Costs of one counsel to the Agent Indemnitees and one local counsel in each
                  applicable jurisdiction for the Agent Indemnitees) of any kind or nature whatsoever which
                  may at any time be imposed on, incurred by or asserted against any Agent Indemnitee in
                  any way relating to or arising out of or in connection with this Agreement or any other
                  Loan Document or in the performance by the Agents in its duties under the Loan
                  Documents; provided that no Lender shall be liable for any portion of such losses, claims,
                  damages, liabilities and related expenses resulting from any Agent Indemnitees gross
                  negligence, bad faith or willful misconduct (as determined by a court of competent
                  jurisdiction in a final and non-appealable decision). For purposes hereof, if the Term
                  Loans have been paid in full prior to such determination pursuant to the immediately
                  preceding sentence, then each such Lender’s “pro rata share” shall be determined as of
                  the last date the Term Loans were in effect immediately prior to such payment in full.

                  To the extent permitted by applicable Law, (i) no Loan Party shall assert, and each hereby
                  waives, any claim against any Indemnitee and (ii) no Indemnitee shall assert, and each
                  hereby waives, any claim against any Loan Party, on any theory of liability, for special,
                  indirect, consequential or punitive damages (as opposed to direct or actual damages)


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                             arising out of, in connection with, or as a result of, this Agreement, any other Loan
                             Document or any agreement or instrument contemplated hereby or thereby, the
                             Transactions or any Loan or the use of the proceeds thereof (whether before or after the
                             Closing Date); provided that the foregoing shall in no event limit the Borrower’s
                             indemnification obligations under clause (b) above.

                             The provisions of this Section 10.05 shall remain operative and in full force and effect
                             regardless of the expiration of the term of this Agreement, the consummation of the
                             transactions contemplated hereby, the repayment of any of the Loans, the expiration of
                             the Commitments, the invalidity or unenforceability of any term or provision of this
                             Agreement or any other Loan Document, or any investigation made by or on behalf of the
                             Administrative Agent, the Collateral Agent or any Lender. All amounts due under this
                             Section 10.05 shall be payable within 30 days after written demand therefor (including
                             documentation reasonably supporting such request).

                             See DIP Credit Agreement, Section 10.05
Milestones                   The Debtors shall ensure that each of the following milestones is achieved by the dates set
Bankruptcy Rule              forth below (or such later dates as approved in writing by the Required Lenders)
4001(c)(1)(B)                (the “Milestones”)9:
    Local Rule                 1) By no later than August 6, 2023, the Borrower and each Guarantor shall have
    4001-2(a)(ii)                 commenced the Chapter 11 Cases (the date of such commencement, the “Petition
                                  Date”).
                               2) By no later than the Petition Date, the Debtors shall have filed the motion seeking
                                  entry of the DIP Order and the UST Adequate Protection Order, in each case, in
                                  form and substance satisfactory to the Required Lenders and the Agents.
                               3) By no later than three (3) calendar days after the Petition Date, the Bankruptcy Court
                                  shall have entered the Interim Order, in form and substance satisfactory to the
                                  Required Lenders and the Agents.
                               4) By no later than ten (10) calendar days after the Petition Date, the Bankruptcy Court
                                  shall have entered the Bidding Procedures Order, in form and substance reasonably
                                  satisfactory to the Required Lenders and the Agents.
                               5) By no later than ten (10) calendar days after the Petition Date, Borrower, in its
                                  capacity as foreign representative on behalf of the Debtors that are Canadian
                                  Subsidiaries, shall have filed an application with the Canadian Court to commence
                                  the Canadian Recognition Proceedings and the Canadian Court shall have issued
                                  the Canadian Initial Recognition Order, the Canadian Supplemental Order and the
                                  Canadian Interim DIP Recognition Order.
                               6) By no later than thirty (30) calendar days after the Petition Date, the Bankruptcy
                                  Court shall have entered the Final Order, in form and substance satisfactory to the
                                  Required Lenders and the Agents.
                               7) By no later than forty (40) calendar days after the Petition Date, the Borrower, in
                                  its capacity as foreign representative on behalf of the Debtors, shall have filed a
                                  motion with the Canadian Court for the recognition of, and the Canadian Court shall
                                  have issued, the Canadian Final DIP Recognition Order.


9      The Interim UST Cash Collateral Order sets forth certain of the same Milestones, as well as certain additional
       UST Milestones (as defined therein) for the benefit of the Prepetition UST Secured Parties.

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                            8) By no later than fifty-five (55) calendar days after the Petition Date, the Debtors
                               shall have received unique, non-duplicative binding cash bids for DIP Priority
                               Collateral pursuant to the Bidding Procedures Order that would generate, in the
                               aggregate, Net Proceeds at least equal to $250,000,000.
                            9) By no later than seventy (70) calendar days after the Petition Date, the Debtors shall
                               have received unique, non-duplicative binding cash bids pursuant to the Bidding
                               Procedures Order which are not subject to any financing contingencies (but, for the
                               avoidance of doubt, may be subject to receipt of environmental reports and/or title
                               contingencies reasonably acceptable to buyer(s)) for the DIP Priority Collateral) for
                               DIP Priority Collateral pursuant to the Bidding Procedures Order that would
                               generate, in the aggregate, Net Proceeds at least equal to $450,000,000.
                            10) By no later than ninety (90) calendar days after the Petition Date, the Debtors shall
                                have consummated Dispositions in accordance with the Bidding Procedures Order
                                that either (i) generated Net Proceeds of DIP Priority Collateral equal to at least
                                100% of the sum of the aggregate amount of Obligations outstanding as of such
                                date or (ii) is consummated through a credit bid of the outstanding Obligations (and
                                any other applicable obligations) in connection with sales of DIP Priority Collateral.
                          See DIP Credit Agreement, Section 6.17(e); Appendix D

Entities with Interests   The following secured parties have an interest in Cash Collateral:
in Cash Collateral
                            The Prepetition Secured Parties, the Prepetition UST Secured Parties, and the DIP
Bankruptcy Rule
                            Secured Parties
4001(b)(l)(B)(i)
                          See Interim Order ¶ F; Interim UST Cash Collateral Order ¶ F

Carve Out                 “Carve-Out” means the sum of (i) all fees required to be paid to the Clerk of the Court and
Bankruptcy Rule           to the Office of the United States Trustee under section 1930(a) of title 28 of the United
4001(c)(1)(B)             States Code plus interest at the statutory rate pursuant to 31 U.S.C. § 3717 (without regard
                          to the notice set forth in (iii) below); (ii) all reasonable fees and expenses up to $50,000
Local Rule
                          incurred by a trustee under section 726(b) of the Bankruptcy Code (without regard to the
4001-2(a)(i)(f)
                          notice set forth in (iii) below); (iii) to the extent allowed at any time, whether by interim
                          order, procedural order, or otherwise, all unpaid fees and expenses (the “Allowed
                          Professional Fees”) incurred by persons or firms retained by the Debtors pursuant to section
                          327, 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) and the Creditors’
                          Committee pursuant to section 328 or 1103 of the Bankruptcy Code (the “Committee
                          Professionals” and, together with the Debtor Professionals, the “Professional Persons”) at
                          any time before or on the first business day following delivery by the DIP Agent of a Carve-
                          Out Trigger Notice (as defined below), whether allowed by the Court prior to or after
                          delivery of a Carve-Out Trigger Notice; and (iv) Allowed Professional Fees of Professional
                          Persons in an aggregate amount not to exceed $2,500,000 incurred after the first business
                          day following delivery by the DIP Agent of the Carve-Out Trigger Notice, to the extent
                          allowed at any time, whether by interim order, procedural order, or otherwise (the amounts
                          set forth in this clause (iv) being the “Post-Carve-Out Trigger Notice Cap”). For purposes
                          of the foregoing, “Carve-Out Trigger Notice” shall mean a written notice delivered by
                          email (or other electronic means) by the DIP Agent to the Debtors, their lead restructuring
                          counsel, the U.S. Trustee, lead counsel to the Prepetition ABL Agent, and counsel to the
                          Creditors’ Committee, which notice may be delivered following the occurrence and during
                          the continuation of an Event of Default (as defined in the DIP Credit Agreement) and
                          acceleration of the DIP Obligations under the DIP Facility, stating that the Post-Carve-Out
                          Trigger Notice Cap has been invoked.



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                       See Interim Order ¶ 4(a)

Liens and Priorities   As security for the DIP Obligations, effective and automatically properly perfected on the
Bankruptcy Rule        date the Interim Order is entered, and without the necessity of execution, recordation or
4001(c)(l)(B)(i)       filing of any perfection document or instrument, or the possession or control by the DIP
                       Agent of, or over, any Collateral, without any further action by the DIP Secured Parties,
Local Rule
                       the following valid, binding, continuing, fully perfected, enforceable and non-avoidable
4001-2(a)(i)(D) and
                       security interests and liens (the “DIP Liens”) are hereby granted to the DIP Agent for the
(G), 4001-2(a)(ii)
                       benefit of the DIP Secured Parties (all property identified in clauses (a) through (e) below
                       being collectively referred to as the “DIP Collateral,” and, together with the Prepetition
                       Collateral, the “Collateral”):
                              (a)        Liens on Unencumbered Property. Pursuant to section 364(c)(2) of the
                       Bankruptcy Code, a first priority lien on and security interest in (subject only to the Carve-
                       Out) all tangible and intangible prepetition and postpetition property of the DIP Loan
                       Parties, other than “Excluded Property” (as defined in the DIP Credit Agreement) whether
                       existing on the Petition Date or thereafter acquired, and the proceeds, products, rents, and
                       profits thereof, that, on or as of the Petition Date, is not subject to (i) a valid, perfected and
                       non-avoidable lien or (ii) a valid and non-avoidable lien in existence as of the Petition Date
                       that is perfected subsequent to the Petition Date as permitted by section 546(b) of the
                       Bankruptcy Code, other than the Avoidance Actions and the Carve-Out Reserves (and any
                       amounts held therein), but including, upon and subject to entry of the Interim Order, the
                       Avoidance Proceeds (collectively, the “Unencumbered Property,” and such liens, the “DIP
                       Unencumbered Property Liens”)).
                               (b)       Liens Priming Certain Prepetition Secured Parties’ Liens. Pursuant to
                       section 364(d)(1) of the Bankruptcy Code, a valid, binding, continuing, enforceable,
                       fully-perfected first priority senior priming security interest (subject and subordinate to the
                       Carve-Out) in, and lien upon, all tangible and intangible prepetition and postpetition
                       property of the DIP Loan Parties of the same nature, scope, and type as the Prepetition B-
                       2 Priority Collateral, regardless of where located (the “DIP Priming Liens”).
                       Notwithstanding anything herein to the contrary, the DIP Priming Liens shall be (A) senior
                       in all respects to the other Prepetition Liens on the Prepetition B-2 Priority Collateral, (B)
                       senior to any Adequate Protection Liens on the Prepetition B-2 Priority Collateral, and (C)
                       not subordinate to any lien, security interest or mortgage that is avoided and preserved for
                       the benefit of the Debtors and their estates under section 551 of the Bankruptcy Code. The
                       Prepetition Liens with respect to the Prepetition B-2 Priority Collateral shall be primed by
                       and made subject and subordinate to the DIP Priming Liens.
                              (c)       Junior Liens Priming Certain Prepetition Secured Parties’ Liens on
                       Prepetition ABL Priority Collateral. Pursuant to sections 364(c)(3) and 364(d)(1) of the
                       Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected junior (subject
                       only to (1) the Carve-Out, (2) the ABL Adequate Protection Liens (as defined below), and
                       (3) the Prepetition ABL Liens) priority priming security interest in, and lien upon, all
                       tangible and intangible prepetition and postpetition property of the DIP Loan Parties of the
                       same nature, scope, and type as the Prepetition ABL Priority Collateral, regardless of where
                       located, which security interest and lien shall prime the Prepetition B-2 Liens, Prepetition
                       UST Tranche A Liens, and Prepetition UST Tranche B Liens on the Prepetition ABL
                       Priority Collateral (the “DIP Priming ABL Third Liens”). Notwithstanding anything
                       herein to the contrary, the DIP Priming ABL Third Liens shall be (A) senior in all respects
                       to the Prepetition Liens and Adequate Protection Liens on the Prepetition ABL Priority
                       Collateral other than the Prepetition ABL Liens and ABL Adequate Protection Liens, and
                       (B) not subordinate to any lien, security interest or mortgage that is avoided and preserved


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                  for the benefit of the Debtors and their estates under section 551 of the Bankruptcy Code.
                  The Prepetition B-2 Liens, Prepetition UST Tranche A Liens, and Prepetition UST Tranche
                  B Liens with respect to the Prepetition ABL Priority Collateral shall be primed by and
                  made subject and subordinate to the DIP Priming ABL Third Liens.
                         (d)       Junior Liens Priming Certain Prepetition Secured Parties’ Liens on
                  Prepetition Joint Collateral and Prepetition UST Tranche B Priority Collateral. Pursuant
                  to sections 364(c)(3) and 364(d)(1) of the Bankruptcy Code, a valid, binding, continuing,
                  enforceable, fully-perfected junior (subject only to (1) the Carve-Out, (2) the UST Tranche
                  B Adequate Protection Liens (as defined below), and (3) the Prepetition UST Tranche B
                  Liens) priority priming security interest in, and lien upon, all tangible and intangible
                  prepetition and postpetition property of the DIP Loan Parties of the same nature, scope,
                  and type as the Prepetition Joint Collateral and Prepetition UST Tranche B Priority
                  Collateral, regardless of where located, which security interest and lien shall prime the
                  Prepetition B-2 Liens, Prepetition UST Tranche A Liens, and Prepetition ABL Liens on
                  the Prepetition Joint Collateral and Prepetition UST Tranche B Priority Collateral (the
                  “DIP Priming UST Tranche B Third Liens”). Notwithstanding anything herein to the
                  contrary, the DIP Priming UST Tranche B Third Liens shall be (A) senior in all respects
                  to the Prepetition Liens and Adequate Protection Liens on the Prepetition Joint Collateral
                  and Prepetition UST Tranche B Priority Collateral other than the Prepetition UST Tranche
                  B Liens and UST Tranche B Adequate Protection Liens, and (B) not subordinate to any
                  lien, security interest or mortgage that is avoided and preserved for the benefit of the
                  Debtors and their estates under section 551 of the Bankruptcy Code. The Prepetition B-2
                  Liens, Prepetition UST Tranche A Liens, and Prepetition ABL Liens with respect to the
                  Prepetition Joint Collateral and Prepetition UST Tranche B Priority Collateral shall be
                  primed by and made subject and subordinate to the DIP Priming UST Tranche B Third
                  Liens.
                         (e)        Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the
                  Bankruptcy Code, a valid, binding, continuing, enforceable, fully perfected security
                  interest in and lien upon all tangible and intangible prepetition and postpetition property of
                  the DIP Loan Parties that, on or as of the Petition Date, is subject to Prepetition Permitted
                  Senior Liens, which shall be (A) with respect to the Prepetition B-2 Priority Collateral,
                  immediately junior and subordinate to the Prepetition B-2 Permitted Senior Liens, (B) with
                  respect to the Prepetition Joint Collateral and Prepetition UST Tranche B Priority
                  Collateral, immediately junior and subordinate to the Prepetition UST Tranche B Permitted
                  Senior Liens, and (C) with respect to the Prepetition ABL Priority Collateral, immediately
                  junior and subordinate to the Prepetition ABL Permitted Senior Liens, but (1) senior to the
                  Prepetition Liens and Adequate Protections Liens on all Prepetition B-2 Priority Collateral
                  subject to such Prepetition Permitted Senior Liens, (2) junior to the UST Tranche B
                  Adequate Protection Liens and Prepetition UST Tranche B Liens but senior to the
                  Prepetition B-2 Liens, Prepetition UST Tranche A Liens, and Prepetition ABL Liens on all
                  Prepetition Joint Collateral and Prepetition UST Tranche B Priority Collateral subject to
                  such Prepetition Permitted Senior Liens, and (3) junior to the ABL Adequate Protection
                  Liens and Prepetition ABL Liens but senior to the Prepetition B-2 Liens, Prepetition UST
                  Tranche A Liens, and Prepetition UST Tranche B Liens on all Prepetition ABL Priority
                  Collateral subject to such Prepetition Permitted Senior Liens.
                         (f)       No Senior Liens. The DIP Liens shall not be (i) subject or subordinate to
                  or made pari passu with (A) any lien or security interest that is avoided and preserved for
                  the benefit of the Debtors or their estates under section 551 of the Bankruptcy Code, (B)
                  unless otherwise provided for in the DIP Documents or in the Interim Order, any liens or
                  security interests arising after the Petition Date, including, without limitation, any liens or

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                         security interests granted in favor of any federal, state, municipal or other governmental
                         unit (including any regulatory body), commission, board or court for any liability of the
                         DIP Loan Parties, or (C) any intercompany liens; or (ii) subordinated to or made pari passu
                         with any other lien or security interest under section 363 or 364 of the Bankruptcy Code
                         unless otherwise provided for in the DIP Documents or in the Interim Order.
                         See Interim Order ¶ 6

506(c) Waiver; Section   Except to the extent of the Carve Out, no costs or expenses of administration of these cases
552(b)                   or any Successor Case or any future proceeding that may result therefrom, including
Bankruptcy Rule          liquidation in bankruptcy or other proceeding under the Bankruptcy Code, shall be charged
4001(c)(l)(B)(x);        against or recovered from the DIP Collateral, Prepetition B-2 Collateral, or Prepetition
4001(c)(1)(B)            ABL Collateral (in each case, including Cash Collateral) pursuant to section 506(c) of the
                         Bankruptcy Code or any similar principle of law, without the prior written consent of the
Local Rule
                         DIP Agent, the Prepetition B-2 Agent, or the Prepetition ABL Agent, as applicable, and no
4001-2(a)(i)(C); 4001-
                         consent shall be implied from any action, inaction or acquiescence by any of the DIP
2(a)(i)(h)
                         Secured Parties, Prepetition B-2 Secured Parties, or Prepetition ABL Secured Parties, and
                         nothing contained in the Interim Order shall be deemed to be a consent by the DIP Secured
                         Parties, Prepetition B-2 Secured Parties, or Prepetition ABL Secured Parties to any charge,
                         lien, assessment or claims against the Collateral under section 506(c) of the Bankruptcy
                         Code or otherwise. Further, effective upon entry of the Final Order, in no event shall the
                         “equities of the case” exception in section 552(b) of the Bankruptcy Code apply to the DIP
                         Secured Parties or Prepetition Secured Parties.
                         See Interim Order ¶ 8

Stipulations to          Prior to the Petition Date the Debtors admit, stipulate and agree that:
Prepetition Liens and
Claims                           (a)     Prepetition B-2 Term Loan. Pursuant to that certain Amended and
Bankruptcy Rule          Restated Credit Agreement, dated as of September 11, 2019 (as amended, supplemented,
4001(c)(1)(B)(iii)       restated or otherwise modified prior to the Petition Date, the “Prepetition B-2 Credit
                         Agreement” and, collectively with all other agreements (including all Loan Documents (as
Local Rule               defined therein)), documents, and instruments executed or delivered in connection
4001-2(a)(i)(B)          therewith, including, without limitation, all security agreements, notes, guarantees,
                         mortgages, Uniform Commercial Code financing statements, and fee letters, each as may
                         be amended, restated, amended and restated, supplemented, waived, or otherwise modified
                         prior to the Petition Date, the “Prepetition B-2 Loan Documents”), by and among (a)
                         Yellow Corp., as borrower (in such capacity, the “Prepetition B-2 Borrower”), (b) the
                         guarantors party thereto (the “Prepetition B-2 Guarantors” and, together with the
                         Prepetition B-2 Borrower, the “Prepetition B-2 Loan Parties”), (c) Alter Domus Products
                         Corp., as administrative and collateral agent (the “Prepetition B-2 Agent”), and (d) the
                         lenders party thereto from time to time (the “Prepetition B-2 Lenders” and, together with
                         the Prepetition B-2 Agent, the “Prepetition B-2 Secured Parties”), Prepetition B-2 Loan
                         Parties incurred “Obligations” (as defined in the Prepetition B-2 Credit Agreement, the
                         “Prepetition B-2 Obligations”) to the Prepetition B-2 Secured Parties on a joint and several
                         basis;
                                 (b)      Prepetition ABL Facility. Pursuant to that certain Loan and Security
                         Agreement, dated as of February 13, 2014 (as amended, supplemented, restated or
                         otherwise modified prior to the Petition Date, the “Prepetition ABL Credit Agreement”,
                         collectively with all other agreements (including all Loan Documents (as defined therein)),
                         documents, and instruments executed or delivered in connection therewith, including,
                         without limitation, all security agreements, notes, guarantees, mortgages, Uniform
                         Commercial Code financing statements, and fee letters, each as may be amended, restated,


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                  amended and restated, supplemented, waived, or otherwise modified prior to the Petition
                  Date, the “Prepetition ABL Loan Documents”, and the credit facilities evidenced thereby,
                  collectively, the “Prepetition ABL Facility”) among (a) Yellow Corp, as administrative
                  borrower (together with the other borrowers party thereto, the “Prepetition ABL
                  Borrowers”), (b) the guarantors party thereto (the “Prepetition ABL Guarantors” and,
                  together with the Prepetition ABL Borrowers, the “Prepetition ABL Loan Parties” and,
                  together with the Prepetition B-2 Loan Parties, the “Prepetition Loan Parties”), (c) Citizens
                  Business Capital, a division of Citizens Asset Finance, Inc. (a subsidiary of Citizens Bank,
                  N.A.), as agent (the “Prepetition ABL Agent” and, together with the Prepetition B-2 Agent,
                  the “Prepetition Agents”), (d) the lenders from time to time party thereto (the “Prepetition
                  ABL Lenders” and, together with the Prepetition B-2 Lenders, the “Prepetition Lenders”),
                  and (e) the issuing banks from time to time party thereto (together with the Prepetition
                  ABL Agent and the Prepetition ABL Lenders, the “Prepetition ABL Secured Parties” and,
                  together with the Prepetition Agents, the Prepetition Lenders, and the Bank Product
                  Providers (as defined in the Prepetition ABL Credit Agreement), the “Prepetition Secured
                  Parties”), the Prepetition ABL Loan Parties incurred “Obligations” (as defined in the
                  Prepetition ABL Credit Agreement, the “Prepetition ABL Obligations” and, together with
                  the Prepetition B-2 Obligations, the “Prepetition Secured Obligations”) to the Prepetition
                  ABL Secured Parties on a joint and several basis; and
                          (c)      Prepetition Intercreditor Agreement. Pursuant to (and to the extent set
                  forth in) that certain Amended and Restated Intercreditor Agreement, dated as of July 7,
                  2020 (as amended, restated, amended and restated, supplemented, waived or otherwise
                  modified from time to time, the “Prepetition Intercreditor Agreement” and, together with
                  the Prepetition B-2 Loan Documents, the Prepetition ABL Loan Documents, and
                  the “Prepetition Loan Documents”) by and among the Prepetition ABL Agent, the
                  Prepetition B-2 Agent, the Prepetition UST Tranche A Agent, and the Prepetition UST
                  Tranche B Agent, the parties thereto agreed, among other things, to the relative priority of
                  such parties’ respective security interests in the Prepetition Collateral (as defined below),
                  which relative priorities are governed by and set forth in the Prepetition Intercreditor
                  Agreement. The Prepetition Loan Documents, including the Prepetition Intercreditor
                  Agreement, are, in each case, binding and enforceable against the parties thereto.
                          (d)      Prepetition B-2 Obligations. As of the Petition Date, the Prepetition B-2
                  Loan Parties were validly, justly, and lawfully indebted and liable to the Prepetition B-2
                  Secured Parties, without defense, challenge, objection, claim, counterclaim, or offset of
                  any kind, for Loans (as defined in the Prepetition B-2 Credit Agreement) in the aggregate
                  principal amount of not less than $485,372,693.29 plus accrued and unpaid interest thereon
                  and any fees, exit fees, expenses and disbursements (including attorneys’ fees, accountants’
                  fees, appraisers’ fees, auditors’ fees, and financial advisors’ fees, and fees of other
                  consultants and professionals), costs, charges, indemnities, and other Prepetition B-2
                  Obligations in each case incurred under (or reimbursable pursuant to) or secured by the
                  Prepetition B-2 Loan Documents;
                          (e)      Prepetition ABL Obligations. As of the Petition Date, the Prepetition ABL
                  Loan Parties were validly, justly and lawfully indebted and liable to the Prepetition ABL
                  Secured Parties, without defense, challenge, objection, claim, counterclaim, or offset of
                  any kind, for (x) not less than $858,520.35 in outstanding principal amount of Loans (as
                  defined in the Prepetition ABL Credit Agreement) plus accrued and unpaid interest
                  thereon, (y) not less than $359,288,388.60 in outstanding and undrawn Letters of Credit
                  (as defined in the Prepetition ABL Credit Agreement) plus accrued and unpaid fees with
                  respect thereto, and (z) any fees, expenses and disbursements (including any attorneys’
                  fees, accountants’ fees, appraisers’ fees, auditors’ fees, financial advisors’ fees, and fees of

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                         other consultants and professionals), costs, charges, indemnities, and other Prepetition
                         ABL Obligations (including, without limitation, Bank Product Debt, as defined in the
                         Prepetition ABL Credit Agreement) in each case incurred under (or reimbursable pursuant
                         to) or secured by the Prepetition ABL Loan Documents. As of the Petition Date, (1) ABL
                         Cash Collateral (as defined below) in an amount equal to $91,449,240.35 is being held on
                         deposit in the Borrowing Base Cash Account (as defined in the Prepetition ABL Credit
                         Agreement) and (2) ABL Cash Collateral (as defined below) in an amount equal to
                         $3,800,000 has been pledged to the Prepetition ABL Agent as security for certain Bank
                         Product Debt owed to Citizens Bank, N.A. and/or its affiliates (such amounts described in
                         this sentence, collectively, the “Existing ABL Cash Collateral Deposits”).
                         See Interim Order ¶ G (i)–(v)

Waiver/Modification      The Prepetition Secured Obligations constitute legal, valid, binding, and non-avoidable
of Applicability of      obligations of the Prepetition Loan Parties, as applicable, enforceable in accordance with
Non-bankruptcy Law       the respective terms of the relevant documents, and no portion of the Prepetition Secured
Relating to Perfection   Obligations or any payment made to the Prepetition Secured Parties or applied to or paid
or Enforceability of     on account of the Prepetition Secured Obligations prior to the Petition Date is subject to
Liens                    any contest, attack, rejection, recovery, reduction, defense, counterclaim, offset,
                         subordination, recharacterization, avoidance or other claim (as such term is defined in the
Bankruptcy Rule
                         Bankruptcy Code), cause of action (including any avoidance actions under chapter 5 of the
4001(c)(1)(B)(vii)
                         Bankruptcy Code), choses in action or other challenge of any nature under the Bankruptcy
                         Code or any applicable non-bankruptcy law.
                         As of the Petition Date, pursuant to the Prepetition B-2 Loan Documents, the Prepetition
                         B-2 Loan Parties granted to the Prepetition B-2 Agent, for the benefit of the Prepetition
                         B-2 Secured Parties, a security interest in and continuing lien on (the “Prepetition B-2
                         Liens”) substantially all of their respective assets and property (other than Excluded Assets
                         (as defined in the Prepetition B-2 Loan Documents), collectively, the “Prepetition B-2
                         Collateral”), including: (i) a valid, binding, properly perfected, enforceable, non-avoidable
                         first priority security interest in and continuing lien on the Non-UST Tranche B Term
                         Priority Collateral (as defined in the Prepetition Intercreditor Agreement), which, for the
                         avoidance of doubt, includes all proceeds, products, accessions, rents, and profits thereof,
                         in each case whether then owned or existing or thereafter acquired or arising (collectively,
                         the “Prepetition B-2 Priority Collateral”), subject only to any liens permitted by the
                         Prepetition B-2 Loan Documents to be senior to the Prepetition B-2 Liens, solely to the
                         extent that such permitted liens are (a) valid, perfected, and non-avoidable on the Petition
                         Date or (b) valid liens in existence on the Petition Date that are perfected subsequent to the
                         Petition Date in accordance with section 546(b) of the Bankruptcy Code (collectively,
                         the “Prepetition B-2 Permitted Senior Liens”); (ii) a valid, binding, properly perfected,
                         enforceable, non-avoidable first priority security interest in and continuing lien on the UST
                         Tranche B Joint Collateral (as defined in the Prepetition Intercreditor Agreement), which,
                         for the avoidance of doubt, includes all proceeds, products, accessions, rents, and profits
                         thereof, in each case whether then owned or existing or thereafter acquired or arising
                         (collectively, the “Prepetition Joint Collateral”), subject only to the pari passu liens of the
                         Prepetition UST Tranche B Agent and the Prepetition B-2 Permitted Senior Liens on the
                         Prepetition Joint Collateral; (iii) a valid, binding, properly perfected, enforceable, non-
                         avoidable security interest in and continuing lien on the Prepetition UST Tranche B Priority
                         Collateral, subject and subordinate only to the liens of the Prepetition UST Tranche B
                         Agent and the Prepetition B-2 Permitted Senior Liens on the Prepetition UST Tranche B
                         Priority Collateral; and (iv) a valid, binding, properly perfected, enforceable, non-avoidable
                         security interest in and continuing lien on the Prepetition ABL Priority Collateral, subject
                         and subordinate only to the liens of the Prepetition ABL Agent and the Prepetition B-2
                         Permitted Senior Liens on the Prepetition ABL Priority Collateral.


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                           As of the Petition Date, pursuant to the Prepetition ABL Loan Documents, the Prepetition
                           ABL Loan Parties granted to the Prepetition ABL Agent, for the benefit of the Prepetition
                           ABL Secured Parties, a security interest in and continuing lien on (the “Prepetition ABL
                           Liens” and, together with the Prepetition B-2 Liens, Prepetition UST Tranche A Liens, and
                           Prepetition UST Tranche B Liens, the “Prepetition Liens”) substantially all of their
                           respective assets and property (collectively, the “Prepetition ABL Collateral” and,
                           collectively with the Prepetition B-2 Collateral, Prepetition UST Tranche A Collateral, and
                           Prepetition UST Tranche B Collateral, the “Prepetition Collateral”), including: (i) a valid,
                           binding, properly perfected, enforceable, non-avoidable first priority security interest in
                           and continuing lien on the ABL Priority Collateral (as defined in the Prepetition
                           Intercreditor Agreement), which, for the avoidance of doubt, includes all proceeds,
                           products, accessions, rents, and profits thereof, in each case whether then owned or existing
                           or thereafter acquired or arising (collectively, the “Prepetition ABL Priority Collateral”),
                           subject only to any liens permitted by the Prepetition ABL Loan Documents to be senior
                           to the Prepetition ABL Liens, solely to the extent that such permitted liens are (a) valid,
                           perfected, and non-avoidable on the Petition Date or (b) valid liens in existence on the
                           Petition Date that are perfected subsequent to the Petition Date in accordance with section
                           546(b) of the Bankruptcy Code (collectively, the “Prepetition ABL Permitted Senior Liens”
                           and, collectively with the Prepetition B-2 Permitted Senior Liens, Prepetition UST Tranche
                           A Permitted Senior Liens, and Prepetition UST Tranche B Permitted Senior Liens, the
                           “Prepetition Permitted Senior Liens”);10 (ii) a valid, binding, properly perfected,
                           enforceable, non-avoidable security interest in and continuing lien on the Prepetition B-2
                           Priority Collateral, subject and subordinate only to the liens of the Prepetition B-2 Agent
                           and the Prepetition ABL Permitted Senior Liens on the Prepetition B-2 Priority Collateral;
                           (iii) a valid, binding, properly perfected, enforceable, non-avoidable security interest in and
                           continuing lien on the Prepetition Joint Collateral, subject and subordinate only to the liens
                           of the Prepetition B-2 Agent and Prepetition UST Tranche B Agent and the Prepetition
                           ABL Permitted Senior Liens on the Prepetition Joint Collateral; and (iv) a valid, binding,
                           properly perfected, enforceable, non-avoidable security interest in and continuing lien on
                           the Prepetition UST Tranche B Priority Collateral, subject and subordinate only to the liens
                           of the Prepetition B-2 Agent and Prepetition UST Tranche B Agent and the Prepetition
                           ABL Permitted Senior Liens on the Prepetition UST Tranche B Priority Collateral.
                           None of the Prepetition Liens are subject to any contest, attack, rejection, recovery,
                           reduction, defense, counterclaim, subordination, recharacterization, avoidance or other
                           cause of action (including any avoidance actions under chapter 5 of the Bankruptcy Code),
                           choses in action or other challenge of any nature under the Bankruptcy Code or any
                           applicable non-bankruptcy law.
                           See Interim Order ¶ G (vi)–(ix)

Challenge Period           The Debtors’ stipulations, admissions, agreements and releases contained in the Interim
Bankruptcy Rule            Order shall be binding upon the Debtors in all circumstances and for all purposes. The
4001(c)(l)(B)              Debtors’ stipulations, admissions, agreements and releases contained in the Interim Order
                           shall be binding upon all other parties in interest, including, without limitation, any
Local Rule
                           statutory or non-statutory committees appointed or formed in these cases and any other
4001-2(a)(i)(B)
                           person or entity acting or seeking to act on behalf of the Debtors’ estates, including any
                           chapter 7 or chapter 11 trustee or examiner appointed or elected for any of the Debtors, in
                           all circumstances and for all purposes unless: (a) such committee or other party in interest
                           with requisite standing has timely filed an adversary proceeding or contested matter


10   For the avoidance of doubt, no reference to the “Prepetition Permitted Senior Liens” shall refer to or include the
     Prepetition Liens.


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                  (subject to the limitations contained herein) by no later than (i) the earlier of (w) one
                  business day before the hearing approving a sale of substantially all of the Debtors’ assets
                  or confirming a plan of reorganization, whichever occurs first, (x) as to the Creditors’
                  Committee only, 75 calendar days after entry of the Interim Order, (y) if a chapter 7 or a
                  chapter 11 trustee is appointed or elected prior to the end of the Challenge Period (as
                  defined below), the Challenge Period solely for any such chapter 7 trustee or chapter 11
                  trustee shall be extended to the date that is the later of (A) 75 calendar days after entry of
                  the Interim Order, or (B) the date that is 30 calendar days after their appointment, and (z)
                  for all other parties in interest, 75 calendar days after entry of the Interim Order; and (ii)
                  any such later date as (v) has been agreed to in writing (which may be by email) by the
                  Prepetition ABL Agent with respect to the Prepetition ABL Obligations or the Prepetition
                  ABL Liens, (w) has been agreed to in writing (which may be by email) by the Prepetition
                  B-2 Agent with respect to the Prepetition B-2 Obligations or the Prepetition B-2 Liens, or
                  (x) has been ordered by the Court for cause upon a motion filed and served within any
                  applicable period (the time period established by the foregoing clauses (i)-(ii), the
                  “Challenge Period”), (A) objecting to or challenging the amount, validity, perfection,
                  enforceability, priority or extent of the Prepetition Secured Obligations or the Prepetition
                  Liens, or (B) asserting or prosecuting any Avoidance Action or any other claims,
                  counterclaims or causes of action, objections, contests or defenses (collectively, the
                  “Challenges”) against any Prepetition Secured Parties or their respective subsidiaries,
                  affiliates, officers, directors, managers, principals, employees, agents, financial advisors,
                  attorneys, accountants, investment bankers, consultants, representatives and other
                  professionals and the respective successors and assigns thereof, in each case in their
                  respective capacity as such (collectively, the “Representatives”) in connection with or
                  related to the Prepetition Loan Documents, the Prepetition Secured Obligations, the
                  Prepetition Liens, or the Prepetition Collateral; and (b) there is a final non-appealable order
                  in favor of the plaintiff sustaining any such Challenge; provided, however, that any
                  pleadings filed in connection with a Challenge shall set forth with specificity the basis for
                  such Challenge and any Challenges not so specified prior to the expiration of the Challenge
                  Period shall be deemed forever waived, released and barred. If no Challenge is timely and
                  properly filed during the Challenge Period or the Court does not rule in favor of the plaintiff
                  in any such Challenge, then: (1) the Debtors’ stipulations, admissions, agreements and
                  releases contained in the Interim Order shall be binding on all parties in interest; (2) the
                  obligations of the Prepetition Loan Parties under the Prepetition Loan Documents shall
                  constitute allowed claims not subject to defense avoidance, reduction, setoff, recoupment,
                  recharacterization, subordination (whether equitable, contractual, or otherwise, except as
                  provided in the Prepetition Intercreditor Agreement), disallowance, impairment,
                  counterclaim, cross-claim, or any other challenge under the Bankruptcy Code or any
                  applicable law or regulation by any person or entity for all purposes in these cases and any
                  Successor Case(s); (3) the Prepetition Liens shall be deemed to have been, as of the Petition
                  Date, legal, valid, binding, perfected, security interests and liens, not subject to defense,
                  avoidance, reduction, setoff, recoupment, recharacterization, subordination (whether
                  equitable, contractual (other than as provided in the Prepetition Intercreditor Agreement),
                  or otherwise), disallowance, impairment, counterclaim, cross-claim, or any other challenge
                  under the Bankruptcy Code or any applicable law or regulation by any person or entity,
                  including any statutory or non-statutory committees appointed or formed in these cases or
                  any other party in interest acting or seeking to act on behalf of the Debtors’ estates,
                  including, without limitation, any chapter 7 or chapter 11 trustee or examiner, and any
                  defense, avoidance, reduction, setoff, recoupment, recharacterization, subordination
                  (whether equitable, contractual, or otherwise), disallowance, impairment, counterclaim,
                  cross-claim, or any other challenge under the Bankruptcy Code or any applicable law or
                  regulation by any statutory or non-statutory committees appointed or formed in these cases
                  or any other party acting or seeking to act on behalf of the Debtors’ estates, including,
                  without limitation, any chapter 7 or chapter 11 trustee or examiner, whether arising under

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                         the Bankruptcy Code or otherwise, against any of the Prepetition Secured Parties and their
                         Representatives shall be deemed forever waived, released and barred. If any Challenge is
                         timely filed during the Challenge Period, the stipulations, admissions, agreements and
                         releases contained in the Interim Order shall nonetheless remain binding and preclusive (as
                         provided in the second sentence of this paragraph) on each person or entity, except to the
                         extent that such stipulations, admissions, agreements and releases were expressly and
                         successfully challenged in such Challenge as set forth in a final, non-appealable order of a
                         court of competent jurisdiction. Nothing in the Interim Order vests or confers on any
                         person or entity (each as defined in the Bankruptcy Code), including any statutory or non-
                         statutory committees appointed or formed in these cases, standing or authority to pursue
                         any claim or cause of action belonging to the Debtors or their estates, including, without
                         limitation, any Challenges with respect to the Prepetition Loan Documents, Prepetition
                         Secured Obligations or Prepetition Liens, and any ruling on standing, if appealed, shall not
                         stay or otherwise delay confirmation of any plan of reorganization in these cases.
                         See Interim Order ¶ 17

Waiver/Modification      The Interim Order includes a customary waiver/modification of the automatic stay to
of the Automatic Stay    permit the Debtors and non-Debtor affiliates to take all actions as are necessary or
Bankruptcy Rule          appropriate to implement the terms of the Interim Order. The automatic stay shall be
4001(c)(1)(B)(iv)        modified to the extent necessary to permit the DIP Secured Parties and each Prepetition
                         Secured Parties to take any Perfection Action.
                         See Interim Order ¶ 14(a); 31

UST Adequate             Pursuant to sections 361, 362, 363(e), and 507 of the Bankruptcy Code, as adequate
Protection Obligations   protection of their respective interests in the Prepetition UST Collateral (including UST
                         Cash Collateral) for the aggregate Diminution in Value and as an inducement to the
Bankruptcy Rules
                         Prepetition UST Secured Parties to consent to priming of the Prepetition UST Tranche A
4001(b)(l)(B)(iv),
                         Liens and the use of their Prepetition UST Collateral (including UST Cash Collateral), the
4001(c)(1)(B)(ii)
                         Prepetition UST Secured Parties are granted the following adequate protection
                         (collectively, the “UST Adequate Protection”):
                                 (a)     Milestone Adequate Protection of the Prepetition UST Secured Parties. As
                         adequation protection for the Debtors’ use of UST Cash Collateral, the Debtors shall meet
                         timely the following milestones (the “Milestones”):
                                         (i)     No later than the Petition Date, the Debtors shall have filed the
                                Motion, seeking, among other things, entry of the DIP Orders and the UST Cash
                                Collateral Orders, each in form and substance reasonably satisfactory to the
                                Prepetition UST Secured Parties;
                                         (ii)     No later than three (3) calendar days after the Petition Date, the
                                Court shall have entered the Interim DIP Order and the Interim UST Cash Collateral
                                Order, each in form and substance satisfactory to the Prepetition UST Secured
                                Parties;
                                        (iii)     No later than ten (10) calendar days after the Petition Date, the
                                Court shall have entered the Bidding Procedures Order, in form and substance
                                reasonably satisfactory to the Prepetition UST Secured Parties;
                                          (iv)     No later than ten (10) calendar days after the Petition Date,
                                Borrower, in its capacity as proposed foreign representative on behalf of the Debtors
                                that are Canadian Subsidiaries, shall have filed an application with the Canadian
                                Court, in form and substance reasonably satisfactory to the Prepetition UST Secured
                                Parties, to commence the Canadian Recognition Proceedings and obtained an


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     Bankruptcy Code                                       Summary of Material Terms
                                   interim stay of proceedings, and by no later than ten (10) calendar days after the
                                   granting of the Interim DIP Order and the Interim UST Cash Collateral Order by
                                   the Court, the Canadian Court shall have issued the Canadian Initial Recognition
                                   Order, the Canadian Supplemental Order, and the Canadian Interim DIP
                                   Recognition Order, each in form and substance reasonably satisfactory to the
                                   Prepetition UST Secured Parties.11
                                            (v)     No later than thirty (30) calendar days after the Petition Date, the
                                   Court shall have entered the Final DIP Order and the Final UST Cash Collateral
                                   Order, each in form and substance satisfactory to the Prepetition UST Secured
                                   Parties;
                                            (vi)     No later than forty (40) calendar days after the Petition Date, the
                                   Borrower, in its capacity as foreign representative on behalf of the Debtors, shall
                                   have filed a motion with the Canadian Court for the recognition of, and the Canadian
                                   Court shall have issued, the Canadian Final DIP Recognition Order (capitalized
                                   terms used but not otherwise defined in this sub-paragraph (vi) shall have the
                                   meanings given to those terms in the DIP Credit Agreement), each in form and
                                   substance reasonably satisfactory to the Prepetition UST Secured Parties;
                                            (vii)      Unless otherwise waived or extended by the Required DIP
                                   Lenders pursuant to the Interim DIP Order, no later than fifty-five (55) calendar
                                   days after the Petition Date, the Debtors shall have received unique, non-duplicative
                                   binding cash bids for the DIP Priority Collateral pursuant to the Bidding Procedures
                                   Order that would generate, in the aggregate, Net Proceeds at least equal to $250
                                   million (capitalized terms used but not otherwise defined in this sub-paragraph (vii)
                                   shall have the meanings given to those terms in the DIP Credit Agreement);
                                            (viii)    Unless otherwise waived or extended by the Required DIP
                                   Lenders pursuant to the Interim DIP Order, no later than seventy (70) calendar days
                                   after the Petition Date, the Debtors shall have received unique, non-duplicative
                                   binding cash bids pursuant to the Bidding Procedures Order which are not subject
                                   to any financing contingencies (but, for the avoidance of doubt, may be subject to
                                   receipt of environmental reports and/or title contingencies reasonably acceptable to
                                   buyer(s)) for the DIP Priority Collateral) for DIP Priority Collateral pursuant to the
                                   Bidding Procedures Order that would generate, in the aggregate, Net Proceeds at
                                   least equal to $450 million (capitalized terms used but not otherwise defined in this
                                   sub-paragraph (viii) shall have the meanings given to those terms in the DIP Credit
                                   Agreement);
                                            (ix)     Unless otherwise waived or extended by the Required DIP
                                   Lenders pursuant to the Interim DIP Order, no later than ninety (90) calendar days
                                   after the Petition Date, the Debtors shall have consummated Dispositions in
                                   accordance with the Bidding Procedures Order that either (i) generated Net
                                   Proceeds of DIP Priority Collateral equal to at least 100% of the sum of the
                                   aggregate amount of Obligations outstanding as of such date or (ii) is consummated
                                   through a credit bid of the outstanding Obligations (and any other applicable
                                   obligations) in connection with sales of DIP Priority Collateral (capitalized terms
                                   used but not otherwise defined in this sub-paragraph (ix) shall have the meanings



11   Capitalized terms used but not otherwise defined in this sub-paragraph (iv) shall have the meanings given to those
     terms in the DIP Credit Agreement.


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Bankruptcy Code                                  Summary of Material Terms
                         given to those terms in the DIP Credit Agreement);
                                  (x)      No later than fifty-five (55) calendar days after the Petition Date,
                         the Debtors shall have received unique, non-duplicative binding cash bids for the
                         Prepetition UST Tranche B Collateral pursuant to the Bidding Procedures Order
                         that would generate, in the aggregate, net cash proceeds at least equal to $200
                         million;
                                  (xi)      No later than seventy (70) calendar days after the Petition Date,
                         the Debtors shall have received unique, non-duplicative binding cash bids pursuant
                         to the Bidding Procedures Order which are not subject to any financing
                         contingencies (but, for the avoidance of doubt, may be subject to receipt of
                         environmental reports and/or title contingencies reasonably acceptable to buyer(s))
                         for the Prepetition UST Tranche B Collateral) for the Prepetition UST Tranche B
                         Collateral pursuant to the Bidding Procedures Order that would generate, in the
                         aggregate, net cash proceeds at least equal to $300 million;
                                  (xii)   No later than ninety (90) calendar days after the Petition Date, the
                         Debtors shall have consummated dispositions in accordance with the Bidding
                         Procedures Order that either (i) generated net proceeds of Prepetition UST Tranche
                         B Collateral equal to at least 100% of the sum of the aggregate amount of the
                         Prepetition UST Tranche B Obligations outstanding as of such date or (ii) is
                         consummated through a credit bid of the outstanding Prepetition UST Tranche B
                         Obligations.
                          (b)      Reporting to the Prepetition UST Secured Parties. The Debtors shall
                  deliver to the Prepetition UST Secured Parties (substantially concurrent with delivery to
                  the DIP Agent and the Prepetition ABL Agent) all financial statements, reports, certificates
                  and related items that are required to be delivered to the DIP Agent or the Prepetition ABL
                  Agent pursuant to the DIP Credit Agreement and/or the Interim DIP Order (collectively,
                  the “Reporting Requirements”); provided, that, to the extent it would violate applicable
                  securities laws, the Prepetition UST Secured Parties shall refrain, and are prohibited, from
                  trading in the Debtors’ stock upon receipt of any information, materials, or reporting
                  whatsoever constituting material non-public information provided to the Prepetition UST
                  Secured Parties and their counsel and advisors pursuant to the Reporting Requirements and
                  this paragraph. Additionally, the Debtors shall make the members of their senior
                  management and its professional advisors available for update calls at least one time per
                  calendar week with the Prepetition UST Secured Parties and their respective professional
                  advisors, at times reasonably acceptable to the Prepetition UST Secured Parties to discuss
                  the cases, the then-current Approved Budget, the Budget Variance Reports, the Liquidity
                  Reports (each as defined in the DIP Credit Agreement), other reporting delivered pursuant
                  to Section 6.02 of the DIP Credit Agreement, union matters, the status of any monetization
                  strategies being pursued by the Debtors, including pursuant to the Bidding Procedures
                  Order (as defined in the DIP Credit Agreement), and any other matters (including business,
                  operational and due diligence matters) reasonably requested by the Prepetition UST
                  Secured Parties.
                          (c)     Adequate Protection of Prepetition UST Tranche B Secured Parties.
                                  (i)     UST Tranche B Adequate Protection Liens. The Prepetition UST
                         Tranche B Agent is hereby granted, for the benefit of the Prepetition UST Tranche
                         B Secured Parties, effective and perfected upon the date of the Interim UST Cash
                         Collateral Order and without the necessity of the execution of any mortgages,
                         security agreements, pledge agreements, financing statements or other agreements,


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                     a valid, perfected replacement security interest in and lien on account of the
                     Prepetition UST Tranche B Secured Parties’ Diminution in Value upon all of the
                     DIP Collateral (the “UST Tranche B Adequate Protection Liens”), (i) in the case of
                     the Prepetition Joint Collateral and Prepetition UST Tranche B Priority Collateral,
                     subject solely to the Carve-Out and the Prepetition Permitted Senior Liens, (ii) in
                     the case of the Prepetition B-2 Collateral, subject and subordinate to, in the
                     following order, (A) the Carve-Out and the Prepetition Permitted Senior Liens,
                     (B) the DIP Liens, (C) the B-2 Adequate Protection Liens, (D) the Prepetition B-2
                     Liens, (E) the ABL Adequate Protection Liens, and (F) the Prepetition ABL Liens,
                     and pari passu with the UST Tranche A Adequate Protection Liens (as defined
                     below), and (iii) in the case of the Prepetition ABL Priority Collateral, subject and
                     subordinate to, in the following order, (A) the Carve-Out and the Prepetition
                     Permitted Senior Liens, (B) the ABL Adequate Protection Liens, (C) the Prepetition
                     ABL Liens, (D) the DIP Liens, (E) the B-2 Adequate Protection Liens, and (F) the
                     Prepetition B-2 Liens, and pari passu with the UST Tranche A Adequate Protection
                     Liens.
                               (ii)     Prepetition and Postpetition UST Tranche B Secured Parties’
                     Fees and Expenses. As further adequate protection, the DIP Loan Parties shall
                     currently pay monthly in cash, subject to the procedures set forth in paragraph 11
                     of the Interim UST Cash Collateral Order, all reasonable and documented
                     prepetition and postpetition fees and out-of-pocket expenses of the Prepetition UST
                     Agent itself and the Prepetition UST Tranche B Secured Parties’ legal and financial
                     advisors, including, without limitation, those of Arnold & Porter Kaye Scholer LLP,
                     Houlihan Lokey Capital, Inc., Hogan Lovells US LLP, and a local and a foreign
                     counsel in each relevant jurisdiction retained by each of the Prepetition UST
                     Tranche B Secured Parties (collectively, the “UST Tranche B Adequate Protection
                     Fees and Expenses”).
                              (iii)    UST Tranche B Adequate Protection Payments. As further
                     adequate protection, the DIP Loan Parties shall pay monthly interest payments
                     under the UST Tranche B Credit Agreement on or before the tenth (10th) calendar
                     day of each month, beginning August 2023 and continuing thereafter through the
                     effective date of the Debtors’ chapter 11 plan, payable to the Prepetition UST
                     Secured Parties at the Default Rate (as defined in the Prepetition UST Tranche B
                     Credit Agreement) in cash (the “UST Tranche B Adequate Protection Payment”
                     and, together with the Debtors’ obligations to meet the Milestones, the Reporting
                     Requirements, UST Tranche B Adequate Protection Liens and UST Tranche B
                     507(b) Claims, and the UST Tranche B Adequate Protection Fees and Expenses,
                     the “UST Tranche B Adequate Protection Obligations”).
                     (d)      Adequate Protection of Prepetition UST Tranche A Secured Parties.
                              (i)       UST Tranche A Adequate Protection Liens. The Prepetition UST
                     Tranche A Agent is hereby granted, for the benefit of the Prepetition UST Tranche
                     A Secured Parties, effective and perfected upon the date of the Interim UST Cash
                     Collateral Order and without the necessity of the execution of any mortgages,
                     security agreements, pledge agreements, financing statements or other agreements,
                     a valid, perfected replacement security interest in and lien on account of the
                     Prepetition UST Tranche A Secured Parties’ Diminution in Value upon all of the
                     DIP Collateral (the “UST Tranche A Adequate Protection Liens” and together with
                     the UST Tranche B Adequate Protection Liens, the “UST Adequate Protection
                     Liens”), (i) in the case of the Prepetition ABL Collateral, subject and subordinate


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  Bankruptcy Code                                  Summary of Material Terms
                           to, in the following order, (A) the Carve-Out and the Prepetition Permitted Senior
                           Liens, (B) the ABL Adequate Protection Liens, (C) the Prepetition ABL Liens,
                           (D) the DIP Liens, (E) the B-2 Adequate Protection Liens, (F) the Prepetition B-2
                           Liens, and pari passu with the UST Tranche B Adequate Protection Liens, (ii) in
                           the case of the Prepetition B-2 Priority Collateral, subject and subordinate to, in the
                           following order, (A) the Carve-Out and the Prepetition Permitted Senior Liens,
                           (B) the DIP Liens, (C) the B-2 Adequate Protection Liens, (D) the Prepetition B-2
                           Liens, (E) the ABL Adequate Protection Liens, and (F) the Prepetition ABL Liens,
                           and pari passu with the UST Tranche B Adequate Protection Liens, and (iii) in the
                           case of the Prepetition Joint Collateral and Prepetition UST Tranche B Priority
                           Collateral, subject and subordinate to, in the following order, (A) the Carve-Out and
                           the Prepetition Permitted Senior Liens, (B) the UST Tranche B Adequate Protection
                           Liens, (C) the Prepetition UST Tranche B Liens, (D) the DIP Liens, (E) the B-2
                           Adequate Protection Liens, (F) the Prepetition B-2 Liens, (G) the ABL Adequate
                           Protection Liens, and (H) the Prepetition ABL Liens.
                                     (ii)    Prepetition and Postpetition UST Tranche A Secured Parties’
                           Fees and Expenses. As further adequate protection, the DIP Loan Parties shall
                           currently pay monthly in cash, subject to the procedures set forth in paragraph 11
                           of the Interim UST Cash Collateral Order, all reasonable and documented
                           prepetition and postpetition fees and out-of-pocket expenses of the Prepetition UST
                           Tranche A Agent itself and the Prepetition UST Tranche A Secured Parties’ legal
                           and financial advisors, including, without limitation, those of Arnold & Porter Kaye
                           Scholer LLP, Houlihan Lokey Capital, Inc., Hogan Lovells US LLP, and a local
                           and a foreign counsel in each relevant jurisdiction retained by each of the Prepetition
                           UST Tranche A Secured Parties (collectively, the “UST Tranche A Adequate
                           Protection Fees and Expenses,” and together with the UST Tranche B Adequate
                           Protection Fees and Expenses, the “UST Adequate Protection Fees and Expenses”).
                                    (iii)    UST Tranche A Adequate Protection Payments. As further
                           adequate protection, the DIP Loan Parties shall pay monthly interest payments
                           under the Prepetition UST Tranche A Credit Agreement on or before the tenth
                           (10th) calendar day of each month, beginning August 2023 and continuing
                           thereafter through the effective date of the Debtors’ chapter 11 plan, payable to the
                           Prepetition UST Secured Parties at the Default Rate (as defined in the Prepetition
                           UST Tranche A Credit Agreement) in cash (the “UST Tranche A Adequate
                           Protection Payment” and, together with the Debtors’ obligations to meet the
                           Milestones, the Reporting Requirements, UST Tranche A Adequate Protection
                           Liens, UST Tranche A 507(b) Claims, the UST Tranche A Adequate Protection
                           Fees and Expenses, the “UST Tranche A Adequate Protection Obligations” and
                           together with the UST Tranche B Adequate Protection Obligations, the “UST
                           Adequate Protection Obligations”).
                    See Interim UST Cash Collateral Order ¶ 7

UST 507(b) Claim    UST Tranche B Section 507(b) Claims. The Prepetition UST Tranche B Secured Parties
                    are hereby granted allowed superpriority administrative expense claims against the Debtors
                    on a joint and several basis (without the need to file any proof of claim) on account of the
                    Prepetition UST Tranche B Secured Parties’ Diminution in Value under section 507(b) of
                    the Bankruptcy Code (the “UST Tranche B 507(b) Claims”), which UST Tranche B 507(b)
                    Claims shall be payable from and have recourse to all DIP Collateral and all proceeds
                    thereof (excluding Avoidance Actions but including, without limitation, Avoidance
                    Proceeds). Except as and to the extent otherwise provided in the Interim UST Cash


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                  Collateral Order, the UST Tranche B 507(b) Claims shall have priority over any and all
                  administrative expenses and all other claims against the Debtors now existing or hereafter
                  arising, of any kind whatsoever, including, without limitation, all administrative expenses
                  of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, whether or not
                  such claims may become secured by a judgment lien or other non-consensual lien, levy or
                  attachment; provided, however, that (i) the UST Tranche B 507(b) Claims shall be junior
                  to the Carve-Out; (ii) the UST Tranche B 507(b) Claims shall be junior to the DIP
                  Superpriority Claims other than as set forth in clause (iv); (iii) with respect to the
                  Prepetition ABL Priority Collateral, the UST Tranche B 507(b) Claims shall be pari passu
                  with the UST Tranche A 507(b) claims and junior to, in the following order, (A) the ABL
                  507(b) Claims, (B) the DIP Superpriority Claims, and (C) the B-2 507(b) Claims; (iv) with
                  respect to the Prepetition Joint Collateral and Prepetition UST Tranche B Priority
                  Collateral, the UST Tranche B 507(b) Claims shall be senior to, in the following order,
                  (A) the DIP Superpriority Claims, (B) the B-2 507(b) Claims, (C) the ABL 507(b) Claims,
                  and (D) the UST Tranche A 507(b) Claims (as defined below); and (v) with respect to the
                  Prepetition B-2 Priority Collateral, the UST Tranche B 507(b) Claims shall be shall be pari
                  passu with the UST Tranche A 507(b) claims and junior to, in the following order, (A) the
                  DIP Superpriority Claims, (B) the B-2 507(b) Claims, and (C) the ABL 507(b) Claims.
                  UST Tranche A Section 507(b) Claims. The Prepetition UST Tranche A Secured Parties
                  are hereby granted allowed superpriority administrative expense claims against the Debtors
                  on a joint and several basis (without the need to file any proof of claim) on account of the
                  Prepetition UST Tranche A Secured Parties’ Diminution in Value under section 507(b) of
                  the Bankruptcy Code (the “UST Tranche A 507(b) Claims,” and together with the UST
                  Tranche B 507(b) Claims, the “UST 507(b) Claims”), which UST Tranche A 507(b)
                  Claims shall be payable from and have recourse to all DIP Collateral and all proceeds
                  thereof (excluding Avoidance Actions but including, without limitation, Avoidance
                  Proceeds). Except as otherwise provided in the Interim UST Cash Collateral Order, the
                  UST Tranche A 507(b) Claims shall have priority over any and all administrative expenses
                  and all other claims against the Debtors now existing or hereafter arising, of any kind
                  whatsoever, including, without limitation, all administrative expenses of the kind specified
                  in sections 503(b) and 507(b) of the Bankruptcy Code, whether or not such claims may
                  become secured by a judgment lien or other non-consensual lien, levy or attachment;
                  provided, however, that (i) the UST Tranche A 507(b) Claims shall be junior to the Carve-
                  Out; (ii) the UST Tranche A 507(b) Claims shall be junior to the DIP Superpriority Claims;
                  (iii) with respect to the Prepetition ABL Priority Collateral, the UST Tranche A 507(b)
                  Claims shall be pari passu with the UST Tranche B 507(b) claims and junior to, in the
                  following order, (A) the ABL 507(b) Claims, (B) the DIP Superpriority Claims, and
                  (C) the B-2 507(b) Claims; (iv) with respect to the Prepetition Joint Collateral and
                  Prepetition UST Tranche B Priority Collateral, the UST Tranche A 507(b) Claims shall be
                  junior to, in the following order, (A) the UST Tranche B 507(b) Claims, (B) the DIP
                  Superpriority Claims, (C) the B-2 507(b) Claims, and (D) the ABL 507(b) Claims; and
                  (v) with respect to the Prepetition B-2 Priority Collateral, the UST Tranche A 507(b)
                  Claims shall be shall be pari passu with the UST Tranche B 507(b) claims and junior to,
                  in the following order, (A) the DIP Superpriority Claims, (B) the B-2 507(b) Claims, and
                  (C) the ABL 507(b) Claims.
                  See Interim UST Cash Collateral Order ¶ 7




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            The Debtors’ Prepetition Capital Structure and Need for the DIP Facility

I.      Prepetition Capital Structure.

        20.     The Debtors have approximately $1.2 billion in total funded debt obligations. This

amount consists of a $485.3 million senior secured term loan, and approximately $737 million in

US Treasury term loans, and $0.9 million in borrowings under the ABL Facility. In addition, the

Debtors have approximately $359.3 million of undrawn letters of credit issued under the ABL

Facility.

 ($ in millions)                            Maturity                     Outstanding Principal
 UST Tranche A                         September 30, 2024                         $337,042,758
 UST Tranche B                         September 30, 2024                         $399,999,770
 B-2 Term Loan                            June 30, 2024                           $485,372,693
 ABL Facility                            January 9, 2026                              $858,520
 Total Funded Debt                                                              $1,223,273,741


        A.      The UST Credit Agreements.

        21.     On July 7, 2020, Yellow and certain of its subsidiaries, as guarantors (the “Term

Guarantors”), entered into the UST Tranche A Term Loan Credit Agreement (as amended,

restated, amended and restated, modified or otherwise supplemented from time to time,

the “Tranche A UST Credit Agreement”) with The Bank of New York Mellon, as administrative

agent and collateral agent and the UST Tranche B Term Loan Credit Agreement (as amended,

restated, amended and restated, modified or otherwise supplemented from time to time,

the “Tranche B UST Credit Agreement” and, together with the Tranche A UST Credit Agreement,

the “UST Credit Agreements”) with The Bank of New York Mellon, as administrative agent and

collateral agent, through which the United States Treasury (“UST”) committed an aggregate

principal amount of $700.0 million to the Company pursuant to the CARES Act. The obligations

of the Company under the UST Credit Agreements are guaranteed by the Term Guarantors.

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       22.     The UST Credit Agreements have maturity dates of September 30, 2024, with a

single payment at maturity of the outstanding balance. The Tranche A UST Credit Agreement

consists of a $300.0 million term loan and bears interest at a rate of the Adjusted LIBO rate (subject

to a floor of 1.0%) plus a margin of 3.5% per annum, consisting of 1.50% in cash and the remainder

paid-in-kind. Proceeds from the Tranche A UST Credit Agreement were used to meet Yellow’s

contractual obligations, maintain working capital and finance technology and infrastructure

development. The Tranche B UST Credit Agreement consists of a $400.0 million term loan and

bears interest at a rate of the Adjusted LIBO rate (subject to a floor of 1.0%) plus a margin of 3.5%

per annum, paid in cash. Proceeds from the Tranche B UST Credit Agreement were used

predominantly for the acquisition of tractors and trailers.

       23.     Obligations under the UST Credit Agreements are secured by a perfected first-

priority security interest in the escrow or controlled account supporting the respective UST Credit

Facility, certain tractors and trailers (solely in the case of the Tranche B UST Credit Agreement)

and a perfected junior priority security interest (subject in each case to permitted liens) in

substantially all other assets of the Company and the Term Guarantors, subject to certain

exceptions.

       24.     On July 7, 2023, but effective as of June 30, 2023, the Company and certain of its

subsidiaries entered into a waiver agreement (the “UST Credit Agreement Waiver”) under the UST

Credit Agreements. The UST Credit Agreement Waiver provides for a waiver of the minimum

Consolidated EBITDA financial covenant of $200.0 million LTM set forth in the UST Credit

Agreements for the covenant testing period that ended on June 30, 2023.




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       25.     As of the Petition Date, approximately $337 million in borrowings remain

outstanding under the Tranche A UST Credit Agreement, and approximately $400 million in

borrowings remain outstanding under the Tranche B UST Credit Agreement.

       B.      Prepetition B-2 Term Loans.

       26.     On September 11, 2019, Yellow and certain of its subsidiaries, as guarantors

(the “Prepetition B-2 Guarantors”), amended and restated the existing credit facilities under the

credit agreement dated February 13, 2014 (the “Prior Term Loan Agreement”) and entered into a

$600.0 million term loan agreement (the “Prepetition B-2 Term Loan”) with the Prepetition B-2

Lenders, and Alter Domus, as administrative agent and collateral agent. The obligations of the

Company under the Prepetition B-2 Credit Agreement are guaranteed by the Term Guarantors.

       27.     The Prepetition B-2 Term Loan has a maturity date of June 30, 2024, with a single

payment due at maturity of the outstanding balance. The Prepetition B-2 Term Loan initially bore

interest at the Adjusted LIBO rate (subject to a floor of 1.0%) plus a margin of 7.5% per annum,

payable at least quarterly in cash, subject to a 1.0% margin step down in the event the Company

achieves greater than $400.0 million in trailing-twelve-month Adjusted EBITDA. Obligations

under the Prepetition B-2 Term Loan are secured by a perfected first-priority security interest in

(subject to permitted liens) assets of the Company and the Term Guarantors, including but not

limited to all of the Company’s wholly owned terminals, tractors and trailers other than the tractors

and trailers funded by the UST Tranche B loan, subject to certain limited exceptions.

       28.     On April 7, 2020, the Company and certain of its subsidiaries entered into

Amendment No. 1 (the “First Term Loan Amendment”) to the Prepetition B-2 Term Loan as a

result of expected future covenant and liquidity tightening due to unprecedented economic

deterioration. The First Term Loan Amendment principally provided additional liquidity allowing

the Company to defer quarterly interest payments for the quarter ended March 31, 2020 and the
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quarter ending June 30, 2020 with almost all of such interest to be paid-in-kind. The First Term

Loan Amendment also provided for a waiver with respect to the Adjusted EBITDA financial

covenant during each fiscal quarter during the fiscal year ending December 31, 2020. The interest

rate was retroactively reset to a fixed 14% during the first six months of 2020.

       29.     On July 7, 2020, the Company and the Term Guarantors entered into Amendment

No. 2 (the “Second Term Loan Amendment”) to the Term Loan Agreement. The material terms

of the Second Term Loan Amendment include, among other things, a consent to the refinancing

and conforming changes to the description of collateral set forth in the UST Credit Agreements,

permanently capitalizing previously paid-in-kind interest on borrowings under the Term Loan

Agreement, and that all future interest shall accrue at Adjusted LIBO rate plus a margin of 7.5%

per annum and 6.5% per annum in the case of alternative base rate borrowings paid in cash.

Additionally, the Company is subject to certain financial covenant requirements identical to those

of the UST credit agreements.

       30.     On July 7, 2023, but effective as of June 30, 2023, the Company and certain of its

subsidiaries entered Amendment No. 3 (the “Third Term Loan Amendment”) to the Prepetition

B-2 Term Loan. The Third Term Loan Amendment requires, among other things, that the Debtors

provide a weekly liquidity report and that the Debtors do not permit liquidity to fall below $35

million at any time. The Third Term Loan Amendment also provided for a change from the

Adjusted LIBO rate to the Secured Overnight Financing Rate (“SOFR”) plus the ARRC

recommended credit spread adjustment.

       31.     In July 2023, the Company announced that it closed on the sale of an obsolete

terminal property in Compton, California with a third-party purchaser for a sale price of $80

million. In accordance with the terms and conditions of the Third Term Loan Amendment, the net



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proceeds of the sale, totaling approximately $79.5 million, were applied to the outstanding

principal balance of the Prepetition B-2 Term Loan.

         32.    As of the Petition Date, approximately $485.3 million in borrowings remain

outstanding under the Prepetition B-2 Term Loan.

         C.     ABL Facility.

         33.    On February 13, 2014, Yellow entered into a $450 million asset-based loan facility

(the “ABL Facility”) from a syndicate of banks arranged by Citizens Business Capital (the “ABL

Agent”), Merrill Lynch, Pierce, Fenner & Smith and CIT Finance LLC.                Yellow and its

subsidiaries, YRC Freight, Reddaway, Holland and New Penn are borrowers under the ABL

Facility, and certain of the Company’s domestic subsidiaries are guarantors thereunder.

Availability under the ABL Facility is derived by reducing the amount that may be advanced

against eligible receivables plus eligible borrowing base cash by certain reserves imposed by the

ABL Agent and the Company’s outstanding letters of credit and revolving loans. Eligible

borrowing base cash is cash that is deposited from time to time into a segregated restricted account

and is included in “Restricted amounts held in escrow” in the accompanying consolidated balance

sheet.

         34.    At Yellow’s option, borrowings under the ABL Facility bear interest at either:

(i) the applicable USD LIBOR rate plus 2.25%, as amended, or (ii) the base rate (as defined in the

ABL Facility) plus 1.25%, as amended. Letter of credit fees equal to the applicable USD LIBOR

margin in effect, 2.25% as amended, are charged quarterly in arrears on the average daily stated

amount of all letters of credit outstanding during the quarter. Unused line fees are charged

quarterly in arrears (such unused line fee percentage is equal to 0.375% per annum if the average

revolver usage is less than 50% or 0.25% per annum if the average revolver usage is greater than

50%). The ABL Facility is secured by a perfected first-priority security interest (subject to
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permitted liens) in accounts receivable, cash, deposit accounts and other assets related to accounts

receivable of Yellow and the other loan parties and an additional second priority security interest

(subject to permitted liens) in substantially all remaining assets of the borrowers and the

guarantors.

        35.      On October 31, 2022, the Company and certain of its subsidiaries entered into

Amendment No. 7 (the “ABL Treasury Amendment”) in which the maturity date of the ABL

Facility was extended to January 9, 2026 and included a springing maturity commencing thirty

days prior to the maturity of any of the Term Debt, the UST Tranche A Facility Indebtedness, or

the UST Tranche B Facility Indebtedness. The amended facility has an increased capacity of

$50 million up to $500 million and an interest rate of SOFR plus 1.75% plus a credit spread

adjustment of .10%.

        36.      As of the Petition Date, $900,000 in borrowings remain outstanding under the ABL

Facility in addition to approximately $359,288,000 of undrawn letters of credit. The relative lien

priorities of each credit facility are set forth as follows:

                                                                                               4th
     Debt         1st Lienholder     2nd Lienholder
                                                               3rd Lienholder Position      Lienholder
    Facility          Position          Position
                                                                                             Position
                                       Category 2
                      Cash
                                     Rolling Stock
  Prepetition
                    Accounts           Category 3
     ABL                                                       Category 1 Rolling Stock
                    Receivable       Rolling Stock
   Facility
                                      Certain Real
                    Accounts
                                    Estate Properties

                                                               Category 2 Rolling Stock

  Prepetition                                                Category 3 Rolling Stock
                                                         (pari passu with UST Tranche B)    Category 1
     UST
                                                                                             Rolling
  Tranche A                                                Certain Real Estate Properties     Stock
   Facility                                              (pari passu with UST Tranche B)
                                                                       Cash
                                                         (pari passu with UST Tranche B)


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                                                                                                4th
       Debt        1st Lienholder    2nd Lienholder
                                                              3rd Lienholder Position        Lienholder
      Facility         Position         Position
                                                                                              Position
                                                                Accounts Receivable
                                                          (pari passu with UST Tranche B)
                                                                      Accounts
                                                          (pari passu with UST Tranche B)
                    Category 1                                Category 3 Rolling Stock
                   Rolling Stock                          (pari passu with UST Tranche A)

                                                            Certain Real Estate Properties
  Prepetition
     UST            Category 2         Certain Real                     Cash
  Tranche B        Rolling Stock     Estate Properties    (pari passu with UST Tranche A)
   Facility        split: 67% to
                   UST / 33% to                                 Accounts Receivable
                   Alter Domus                            (pari passu with UST Tranche A)
                                                                      Accounts
                                                          (pari passu with UST Tranche A)
                                       Category 1
                   All Real Estate
                                      Rolling Stock
                     Properties
                    Category 2            Cash
  Prepetition      Rolling Stock
   B-2 Term        split: 67% to
     Loan                              Accounts
                   UST / 33% to        Receivable
                   Alter Domus
                    Category 3          Accounts
                   Rolling Stock

II.      Alternative Sources of Financing Are Not Readily Available.

         37.      As further described in the Kaldenberg Declaration, other than the proposed DIP

Facility offered by the Prepetition B-2 Lenders, the Debtors do not have any actionable financing

alternative available from sources either within or outside their capital structure. See Kaldenberg

Decl. ¶ 18. The Debtors and their advisors engaged with numerous parties regarding soliciting

funding for these chapter 11 cases. Specifically, Ducera contacted approximately 35 third-party

financial institutions with particular industry experience in providing debtor-in-possession

financing to determine whether any of these parties would be willing to provide postpetition

financing to the Debtors. These marketing efforts continued in earnest in parallel with the Debtors’


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negotiations of the DIP Facility with the DIP Lenders. See id. ¶ 16. Of those parties contacted by

Ducera, ten entered into confidentiality agreements and received access to a private data room

containing extensive materials related to the Debtors’ financials, operations, assets, organizational

structure, and the opportunity to provide debtor-in-possession financing. See id. ¶ 16. Other than

the offer for the DIP Facility from the Prepetition B-2 Lenders, the Debtors received only one

third-party indication of interest to provide post-petition financing, which inbound of interest was

was labeled “for discussion purposes only,” based on public information only, and was premised

upon needing several additional weeks of diligence to determine if such a financing would be

feasible on any terms. Accordingly, with time being of the essence, the Debtors determined that

they lacked sufficient time for multiple more weeks of negotiations with this party, leaving the

DIP Lenders’ proposed DIP Facility as the Debtors’ only available option to reach an expeditious

deal. See id. ¶ 17.

       38.     The terms of the DIP Facility are fair and reasonable under the circumstances. The

DIP Facility is the product of good-faith, robust, and arm’s-length negotiations with the DIP

Lenders. The New Money DIP Term Loans are necessary for the Debtors to maximize value of

their estates pursuant to an orderly, but efficient, sale process and to avoid an unwieldy fire sale

liquidation. See id. ¶ 22. Accordingly, approval of and the Debtors’ entry into the DIP Facility is

in the best interests of the Debtors’ estates and represents a sound exercise of the Debtors’

reasonable business judgment. See Id. ¶ 21. Further, access to both the proceeds of the DIP

Facility and the use of Available ABL Cash Collateral is integral because neither is sufficient alone

to fund these chapter 11 cases without the other.




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                                          Basis for Relief

I.      The Debtors Should Be Authorized to Obtain Postpetition Financing Through the
        DIP Documents.

        A.      Entry into the DIP Documents Is a Sound Exercise of the Debtors’ Business
                Judgment.

        39.     The Court should authorize the Debtors, as a sound exercise of the Debtors’

business judgment, to execute, deliver, and perform under the DIP Documents, including the DIP

Credit Agreement, and to obtain access to the New Money DIP Term Loans provided by the DIP

Facility. Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured or superpriority

financing under certain circumstances discussed in detail below.         Courts grant a debtor in

possession considerable deference in acting in accordance with its business judgment in obtaining

postpetition secured credit, so long as the agreement to obtain such credit does not run afoul of the

provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re Trans World Airlines,

Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving a postpetition loan and receivables

facility because such facility “reflect[ed] sound and prudent business judgment”); In re L.A.

Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the

business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc.,

115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion

under section 364 is to be utilized on grounds that permit reasonable business judgment to be

exercised so long as the financing agreement does not contain terms that leverage the bankruptcy

process and powers or its purpose is not so much to benefit the estate as it is to benefit a

party-in-interest.”).

        40.     Specifically, to determine whether the business judgment standard is met, a court

need only “examine whether a reasonable businessperson would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also

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In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

not second guess a debtor’s business decision when that decision involves “a business judgment

made in good faith, upon a reasonable basis, and within the scope of [the debtor’s] authority under

the [Bankruptcy] Code”).

       41.     Furthermore, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003)

(“Viewed in isolation, several of the terms of the [postpetition financing] might appear to be

extreme or even unreasonable. Certainly, many of them favor the DIP Lenders. But, taken in

context, and considering the relative circumstances of the parties, the Court does not believe that

the terms are unreasonable.”); see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l

Bank & Trust Co. (In re Elingsen McLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986)

(recognizing that a debtor may have to enter into “hard bargains” to acquire funds for its

reorganization). Courts may also appropriately take into consideration noneconomic benefits to a

debtor offered by a proposed postpetition facility. For example, in In re ION Media Networks, Inc.,

the bankruptcy court for the Southern District of New York held that:

       Although all parties, including the Debtors and the Committee, are naturally
       motivated to obtain financing on the best possible terms, a business decision to
       obtain credit from a particular lender is almost never based purely on economic
       terms. Relevant features of the financing must be evaluated, including
       non-economic elements such as the timing and certainty of closing, the impact on
       creditor constituencies and the likelihood of a successful reorganization. This is
       particularly true in a bankruptcy setting where cooperation and establishing
       alliances with creditor groups can be a vital part of building support for a
       restructuring that ultimately may lead to a confirmable reorganization plan. That
       which helps foster consensus may be preferable to a notionally better transaction
       that carries the risk of promoting unwanted conflict.

2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (emphasis added).



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       42.     The Debtors’ decision to enter into the DIP Facility represents a sound exercise of

the Debtors’ business judgment following hard-fought and arm’s-length negotiation with the DIP

Lenders and an extensive canvassing of the debtor-in-possession financing market for any

available and actionable postpetition financing alternatives. The postpetition financing offered by

the DIP Facility will provide the Debtors with adequate liquidity to smoothly transition into

chapter 11, conduct an orderly wind-down of their operations and businesses, and execute a

comprehensive sale process for their vast assets, which includes a substantial real estate portfolio

and many thousands of tractor-trailers, among other key industry assets. See Whittman Decl. ¶ 8.

The Debtors and their advisors negotiated the DIP Facility with the DIP Lenders in good faith, at

arm’s length, and around-the-clock over several intensive days, and the Debtors believe that they

have obtained the best possible post-petition financing solution available under the circumstances.

See Kaldenberg Decl. ¶ 23. Accordingly, the Court should authorize the Debtors’ entry into the

DIP Documents, as it is a sound exercise of the Debtors’ business judgment.

       B.      The Debtors Should Be Authorized to Grant Liens and Superpriority Claims.

       43.     The Debtors propose to obtain financing under the DIP Facility by providing

security interests and liens as set forth in the DIP Documents pursuant to section 364(c) and

section 364(d) of the Bankruptcy Code. More specifically, the Debtors propose to provide to the

DIP Lenders, subject to the Carve-Out, continuing, valid, binding, enforceable, non-avoidable, and

automatically and properly perfected postpetition security interests in, and liens upon, all tangible

and intangible prepetition and postpetition property of the DIP Loan Parties of the same nature,

scope, and type as the Prepetition B-2 Priority Collateral, regardless of where located. The

Prepetition Liens with respect to the Prepetition B-2 Priority Collateral shall be primed by and

made subject and subordinate to the DIP Priming Liens.



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       44.     The statutory requirement for obtaining postpetition credit under section 364(c) of

the Bankruptcy Code is a finding, made after notice and hearing, that a debtor is “unable to obtain

unsecured    credit   allowable   under     section     503(b)(1)   of   [the   Bankruptcy     Code].”

11 U.S.C. § 364(c). See In re Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured

credit under section 364(c) of the Bankruptcy Code is authorized, after notice and hearing, upon

showing that unsecured credit cannot be obtained). Courts have articulated a three-part test to

determine whether a debtor is entitled to financing under section 364(c) of the Bankruptcy Code.

Specifically, courts look to whether:

       A.      the debtor is unable to obtain unsecured credit under section 364(b) of the
               Bankruptcy Code—i.e., by allowing a lender only an administrative claim;

       B.      the credit transaction is necessary to preserve the assets of the estate; and

       C.      the terms of the transaction are fair, reasonable, and adequate, given the
               circumstances of the debtor-borrower and proposed lenders.

In re Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987); see also L.A. Dodgers LLC, 457

B.R. at 312–13 (Bankr. D. Del. 2011); Ames Dep’t Stores, 115 B.R. at 37–40 (Bankr. S.D.N.Y.

1990); In re St. Mary Hosp., 86 B.R. 393, 401 (Bankr. E.D. Pa. 1988).

       45.     As described above and in the Kaldenberg Declaration, the Debtors recognized that

it would be difficult, if not impossible, to secure unsecured or junior postpetition financing given

that time to access incremental liquidity was limited and the Prepetition Secured Parties (as well

as the Prepetition UST Secured Parties) indicated that they would not consent to a “priming” DIP

financing provided by a third party. See Kaldenberg Decl. at ¶ 19. In light of these circumstances

and the realities imposed by the Debtors’ existing capital structure, any third-party DIP financing

would almost certainly have required the Debtors to engage in a protracted and costly priming

fight at the very outset of these chapter 11 cases. Id. Regardless of the prospects of success, the

expense and disruption associated with complex priming litigation (or non-consensual use of cash

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collateral litigation) at the outset of these cases would jeopardize the Debtors’ ability to

immediately hit the ground running with their monumental sale efforts. Such litigation would

divert critical resources from accomplishing the Debtors’ goals of maximizing estate value and

creditor recoveries to instead litigating a potentially bitter and costly priming dispute. Further, the

Debtors’ already strained liquidity would be required to fund such a fight. Id.

       46.      Absent the DIP Facility, which will provide sufficient liquidity to administer these

chapter 11 cases and execute the Debtors’ sale process and wind-down, the value of the Debtors’

estates would be significantly impaired to the detriment of all stakeholders. Given the Debtors’

unique circumstances, the Debtors believe that the terms of the DIP Facility, including the Roll-Up

and other economic provisions of the DIP Facility (including the Fees), as set forth in the DIP

Credit Agreement and other DIP Documents, are fair and reasonable. For these reasons, the

Debtors have met the standard for obtaining postpetition financing under section 364(c) of the

Bankruptcy Code.

       47.      In the event that a debtor is unable to obtain unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) of the

Bankruptcy Code provides that a court may:

       authorize the obtaining of credit or the incurring of debt (1) with priority over any
       or all administrative expenses of the kind specified in section 503(b) or 507(b) of
       [the Bankruptcy Code]; (2) secured by a lien on property of the estate that is not
       otherwise subject to a lien; or (3) secured by a junior lien on property of the estate
       that is subject to a lien.

11 U.S.C. § 364(c). As described above, the Debtors are unable to obtain unsecured credit.

Therefore, approving superpriority claims in favor of the DIP Lenders is reasonable and

appropriate.

       48.      Further, section 364(d) of the Bankruptcy Code provides that a debtor may obtain

credit secured by a senior or equal lien on property of the estate already subject to a lien, after
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notice and a hearing, where the debtor is “unable to obtain such credit otherwise” and “there is

adequate protection of the interest of the holder of the lien on the property of the estate on which

such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). The Debtors may

incur “priming” liens under the DIP Facility to the extent such DIP Collateral is subject to

prepetition liens that secure the Prepetition B-2 Obligations of the Prepetition B-2 Secured Parties.

See Anchor Savs. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (“[B]y tacitly

consenting to the superpriority lien, those [undersecured] creditors relieved the debtor of having

to demonstrate that they were adequately protected.”). Accordingly, the Debtors may incur

“priming” liens under the DIP Facility if either (a) their Prepetition B-2 Secured Parties have

consented or (b) the Prepetition B-2 Secured Parties’ interests in collateral are adequately

protected.

       49.     Here, the Prepetition Secured Parties, including the Prepetition ABL Secured

Parties, as well as the Prepetition UST Secured Parties, have each affirmatively consented to the

DIP Facility and actively participated in facilitating the proposed DIP Facility. Moreover, as set

forth more fully in the Interim Order, the Debtors propose to provide an extensive adequate

protection package to protect the interests of the Prepetition Secured Parties and (pursuant to the

Interim UST Cash Collateral Order) the Prepetition UST Secured Parties. Therefore, the relief

requested pursuant to section 364(d)(1) of the Bankruptcy Code is appropriate.

       C.      No Comparable Alternative to the DIP Facility Is Reasonably Available.

       50.     A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Reading Tube Indus.,

72 B.R. 329, 332 (Bankr. E.D. Pa 1987). Moreover, in circumstances where only a few lenders



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likely can or will extend the necessary credit to a debtor, “it would be unrealistic and unnecessary

to require [the debtor] to conduct such an exhaustive search for financing.” In re Sky Valley, Inc.,

100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom. Anchor Sav. Bank FSB v. Sky Valley,

Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also In re Snowshoe Co., 789 F.2d 1085, 1088

(4th Cir. 1986) (demonstrating that credit was unavailable absent the senior lien by establishment

of unsuccessful contact with other financial institutions in the geographic area); In re Stanley

Hotel, Inc., 15 B.R. 660, 663 (D. Colo. 1981) (holding that the bankruptcy court’s finding that two

national banks refused to grant unsecured loans was sufficient to support conclusion that the

section 364 requirement was met); Ames Dep’t Stores, 115 B.R. at 37–39 (finding that the debtor

must show that it made reasonable efforts to seek other sources of financing under section 364(a)

and (b) of the Bankruptcy Code).

       51.     The Debtors do not believe that alternative sources of financing are reasonably or

readily available given the Debtors’ extensive (and unsuccessful) solicitation of alternative

financing proposals. See Kaldenberg Decl. ¶ 17–18. The Debtors and their advisors have

thoroughly canvassed the distressed financing market for alternative postpetition financing

proposals. Despite these efforts, no parties other than the DIP Lenders came forward with a viable

debtor-in-possession financing proposal to infuse the Debtors with sufficient liquidity to fund these

cases. Other than the proposed DIP Facility, the Debtors received only one third-party indication

of interest to provide a DIP financing proposal, but this inbound was labeled “for discussion

purposes only” and was explicitly premised upon the need for several further weeks of diligence

before this party’s indication of interest might possibly advance to an actual offer for financing.

Thus, the DIP Facility offered by the DIP Lenders represents the Debtors’ only available option to

meet the Debtors’ urgent liquidity needs and to successfully finance these cases. See Id. The DIP



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Facility will allow the Debtors to smoothly transition into chapter 11, wherein they and their

advisors will conduct an orderly wind-down of operations and execute a comprehensive sale

process for the Debtors’ assets. See Whittman Decl. ¶ 6. Financed by the New Money DIP Term

Loans and Available ABL Cash Collateral, the Debtors intend to efficiently, proactively, and

professionally market and monetize their substantial portfolio of real estate and other valuable

industry-specific assets, with the goal of maximizing creditor recoveries on the basis of these sale

proceeds. No alternative other than the proposed DIP Facility is available to fund this process.

Therefore, the requirement of section 364 of the Bankruptcy Code that alternative credit on more

favorable terms be unavailable to the Debtors is satisfied.

       D.      The Roll-Up is Appropriate.

       52.     The proposed DIP Orders provide that upon entry of the Interim Order

$501,584,152.30 of outstanding Prepetition B-2 Obligations will be rolled up into the DIP Facility.

The proposed Roll-Up is an exercise of the Debtors’ sound business judgment.

       53.     Section 363(b) of the Bankruptcy Code permits a debtor to use, sell, or lease

property, other than in the ordinary course of business, with court approval. It is well settled in

the Third Circuit that such transactions should be approved when they are supported by a sound

business purpose. See In re Abbots Dairies, Inc., 788 F.2d 143 (3d Cir. 1986) (holding that in the

Third Circuit, a debtor’s use of assets outside the ordinary course of business under section 363(b)

of the Bankruptcy Code should be approved if the debtor can demonstrate a sound business

justification for the proposed transaction).     The business judgment rule shields a debtor’s

management from judicial second-guessing. In re Johns-Manville Corp., 60 B.R. 612, 615–16

(Bankr. S.D.N.Y. 1986) (“[T]he [Bankruptcy] Code favors the continued operation of a business

by a debtor and a presumption of reasonableness attaches to a debtor’s management decisions.”).



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         54.      Repaying prepetition debt (often referred to as a “roll-up”) is a common feature in

debtor-in-possession financing arrangements.               The importance of “roll-up” features in DIP

facilities has been repeatedly recognized by courts in this district and others, and such courts have

granted relief similar to the relief requested herein. See, e.g., In re PGX Holdings, Inc., No. 23-

10718 (CTG) (Bankr. D. Del. Jul. 31, 2023) (authorizing an approximately $63 million DIP

Facility, including an approximately $43 million roll-up); In re SiO2 Medical Prods., Inc., No. 23-

10366 (JTD) (Bankr. D. Del. Apr. 26, 2023) (authorizing an approximately $120 million DIP

facility, including a $60 million roll-up of the prepetition term loan); In re Extraction Oil & Gas,

Inc., No. 20-11548 (CSS) (Bankr. D. Del. Jul. 20, 2020) (authorizing an approximately $50 million

DIP facility including a $22 million roll-up); In re Blackhawk Mining LLC, No. 19-11595 (LSS)

(Bankr. D. Del. Jul. 23, 2019) (authorizing an approximately $240 million DIP facility, including

a $100 million roll-up of the prepetition term loan and an additional $140 million in incremental

liquidity, pursuant to interim order); In re ATD Corp., No. 18-12221 (KJC) (Bankr. D. Del. Oct.

26, 2018) (authorizing an approximately $1,230 million DIP, including a full roll-up of the

prepetition ABL outstanding principal of $639 million and an additional $250 million in additional

liquidity, pursuant to interim order).12

         55.      Where, as here, the Prepetition B-2 Lenders are likely oversecured, repaying

creditors that stand to receive payment in full with postpetition loans will not harm the Debtors’

estates and other creditors. Rather, the proposed Roll-Up feature merely affects the timing, not

the amount, of the Prepetition B-2 Lenders’ recovery.                   Further, the Roll-Up is a material

component of the consideration required by the DIP Lenders as part of their commitment to



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     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
     Copies of these orders are available upon request of the Debtors’ proposed counsel.


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provide postpetition financing. Without continued access to the incremental liquidity provided

under the DIP Facility necessary to fund the administration of these chapter 11 cases and the sale

process, the Debtors will be unable to maximize estate value. Accordingly, the proposed Roll-Up

should be approved as a sound exercise of the Debtors’ business judgment.

       56.     As discussed herein and in the Kaldenberg Declaration, the Roll-Up was the subject

of arm’s-length and good-faith negotiations between the Debtors and the DIP Lenders, is an

integral component of the overall terms of the DIP Facility and was required by the DIP Lenders

as consideration for their extension of postpetition financing. See Kaldenberg Decl. ¶ 20. Given

the Prepetition B-2 Lenders’ likely oversecured status, the potential volatility in the Debtors’

collections, their inability to access Cash Collateral outside of the DIP Facility, and the fact that

no other party has put forward an actionable financing proposal, the Roll-Up pursuant to the

Interim Order is reasonable, appropriate, a sound exercise of the Debtors’ business judgment, and

ultimately in the best interest of all stakeholders given the alternatives.

       E.      The Debtors Should Be Authorized to Use the Cash Collateral (Including
               Available ABL Cash Collateral).

       57.     Section 363 of the Bankruptcy Code governs the Debtors’ use of property of their

estates, including Cash Collateral. Pursuant to section 363(c)(2) of the Bankruptcy Code, a debtor

may use cash collateral as long as “(A) each entity that has an interest in such cash collateral

consents; or (B) the court, after notice and a hearing, authorizes such use, sale, or lease in

accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2). Here, the DIP Lenders

and the Prepetition Secured Parties (including the Prepetition UST Secured Parties pursuant to the

Interim UST Cash Collateral Order) have consented to the Debtors’ use of the Cash Collateral,

subject to the terms and limitations set forth in the Interim Order and the Interim UST Cash

Collateral Order.


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       58.       Section 363(e) of the Bankruptcy Code provides for adequate protection of interests

in property when a debtor uses cash collateral. Further, section 362(d)(1) of the Bankruptcy Code

provides for adequate protection of interests in property due to the imposition of the automatic

stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While section 361 of

the Bankruptcy Code provides examples of forms of adequate protection, such as granting

replacement liens and administrative claims, courts decide what constitutes sufficient adequate

protection on a case-by-case basis. See, e.g., In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564

(3d Cir. 1994) (explaining that the “determination of whether there is adequate protection is made

on a case-by-case basis”); In re Satcon Tech. Corp., No. 12-12869 (KG), 2012 WL 6091160, at

*6 (Bankr. D. Del. Dec. 7, 2012) (same); In re N.J. Affordable Homes Corp., 2006 WL 2128624,

at *14 (Bankr. D.N.J. June 29, 2006) (holding that “the circumstances of the case will dictate the

necessary relief to be given”); In re Columbia Gas Sys., Inc., 1992 WL 79323, at *2 (Bankr. D.

Del. Feb. 18, 1992) (holding that “what interest is entitled to adequate protection and what

constitutes adequate protection must be decided on a case-by-case basis”); see also In re Dynaco

Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993) (citing 2 Collier on Bankruptcy ¶ 361.01[1] at

361–66 (15th ed. 1993) (explaining that adequate protection can take many forms and “must be

determined based upon equitable considerations arising from the particular facts of each

proceeding”)).

       59.       As set forth in the Interim Order, the Debtors propose to provide the Prepetition

Secured Parties with certain forms of adequate protection to protect against the postpetition

diminution in value of their Prepetition Collateral (collectively, the “Adequate Protection

Obligations”). The Debtors will likewise provide the Prepetition UST Secured Parties with the

adequate protection package under the Interim UST Cash Collateral Order. These protections are



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set forth in the Interim Order (and, as applicable, in the Interim UST Cash Collateral Order) and

summarized herein:

               a.     payment of reasonable fees, costs and expenses of the Prepetition Secured
                      Parties and their professionals (as well as the Prepetition UST Secured
                      Parties and their professionals);

               b.     replacement liens;

               c.     superpriority administrative expense claims to the extent of any postpetition
                      diminution in value of the Prepetition Secured Parties’ (and the Prepetition
                      UST Secured Parties’) interest in the Prepetition Collateral;

               d.     reporting and information requirements;

               e.     segregation of 80% of ABL Cash Collateral (i.e., accounts receivable) to
                      pay down, or cash collateralize (as applicable), the Prepetition ABL
                      Obligations; and

               f.     cash interest payments to the Prepetition Secured Parties and the Prepetition
                      UST Secured Parties (including certain fees payments to the Prepetition
                      ABL Secured Parties).

       60.     The Debtors submit that the proposed Adequate Protection Obligations (including,

under the Interim UST Cash Collateral Order, the UST Adequate Protection Obligations) are

sufficient to protect the Prepetition Secured Parties and the Prepetition UST Secured Parties from

any potential diminution in value to their respective Prepetition Collateral (including Cash

Collateral). In light of the foregoing, the Debtors submit, and the Prepetition Secured Parties and

the Prepetition UST Secured Parties agree, that the proposed Adequate Protection Obligations (and

UST Adequate Protection Obligations) to be provided for the benefit of the Prepetition Secured

Parties and the Prepetition UST Secured Parties are appropriate. Thus, the Debtors’ provision of

the Adequate Protection Obligations and the UST Adequate Protection Obligations are fair and

appropriate under the circumstances of these chapter 11 cases to ensure that the Debtors are able

to continue using Prepetition Collateral, including Available ABL Cash Collateral, subject to the




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terms and limitations set forth in the Interim Order and the Interim UST Cash Collateral Order, for

the benefit of all parties in interest and the Debtors’ estates.

II.     The Debtors Should Be Authorized to Pay the Fees Required by the DIP Agent and
        the DIP Lenders Under the DIP Documents.

        61.     Under the DIP Credit Agreement, the Debtors will, subject to Court approval, pay

certain fees (as defined in the DIP Credit Agreement, the “Fees”) to the DIP Secured Parties. The

Fees are reasonable under the circumstances and for the same reasons as set forth above with

respect to the Roll-Up: the DIP Lenders, representing the Debtors’ only available source of

postpetition financing, would not have extended the DIP Facility but for the economics (including

the Fees) contained therein.       These economics and Fees were the subject of hard-fought

negotiations between the Debtors and the DIP Lenders. Thus, the Fees should not be viewed

separately but rather as a part of the overall, substantial benefits provided under the DIP Facility.

        62.     The proposed Fees are as follows: (a) the DIP Lenders will earn the DIP Closing

Fee (as defined in the Fee Letter) on the Closing Date with the Fixed Amount portion thereof to

be payable on the Closing Date and the Variable Amount portion thereof to be payable on the

earliest to occur of July 31, 2025, the date on which the Chapter 11 Cases (as defined in the DIP

Credit Agreement) are converted to a chapter 7 and the effective date of any plan of reorganization;

and (b) the Admin Fee (as defined in the Agency Fee Letter (as defined in the DIP Credit

Agreement)) will be due and payable to the DIP Agent annually, commencing on the Closing Date.

        63.     The DIP Closing Fee is an aggregate amount equal to: (a) $7,125,000 (the “Fixed

Amount”); and (b) an amount (the “Variable Amount”) equal to: the product of (A) the DIP Facility

Amount multiplied by (B) a percentage representing the sum of (x) if any obligations under the

DIP Credit Agreement are outstanding on September 8, 2023, 2.50%, plus (y) if any obligations

under the DIP Credit Agreement are outstanding on September 29, 2023, 2.50%, plus (z) if any


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obligations under the DIP Credit Agreement are outstanding on the second day after the scheduled

Maturity Date pursuant to clause (i) of the definition of the term “Maturity Date” under the Credit

Agreement, 2.50%; minus the Fixed Amount.

III.       The Interim UST Cash Collateral Order Should Be Entered as an Exercise of the
           Debtors' Sound Business Judgment.

           64.      The Debtors also seek the Court’s approval of the Interim UST Cash Collateral

Order. Following extensive discussions regarding the DIP Facility between the Debtors and their

Prepetition Secured Parties, the Prepetition UST Secured Parties and their counsel indicated their

preference for this Court’s entry of a standalone order (separate and apart from the Interim Order),

among other things, (a) documenting the Prepetition UST Secured Parties’ consent for the Debtors

to use UST Cash Collateral (as defined in the Interim UST Cash Collateral Order) and (b) granting

certain adequate protections to the Prepetition UST Secured Parties (i.e., the UST Adequate

Protection Obligations (as defined in the Interim UST Cash Collateral Order)), including, among

other protections, cash interest payments, reporting requirements to the Prepetition UST Secured

Parties, and reimbursement of professional fees.13 The Prepetition UST Secured Parties also

insisted upon, and the Interim UST Cash Collateral Order provides for, the UST Milestones. The

UST Adequate Protection Obligations are critical to secure the Prepetition UST Secured Parties’

consent to the Debtors’ use of UST Cash Collateral and the Treasury’s support for the Debtors’

sale and wind-down efforts in these cases. Accordingly, the Debtors respectfully request that the



13     The Houlihan Restructuring Fee is set forth in the Financial Agency Agreement (as defined in the Interim UST
       Cash Collateral Order) with the Prepetition UST Secured Lenders as follows: “If [Houlihan Lokey Capital, Inc.]
       receives written notice from Treasury to engage with an issuer on a financial restructuring of [the Debtors’]
       obligation to the Treasury, then upon the completion of the financial restructuring [Houlihan Lokey Capital, Inc.]
       will receive a fee equal to seventy-five basis points (0.75%) of the principal amount of the claim held by Treasury
       of the [Debtors] capped at $7,500,000.” As set forth in the Interim UST Cash Collateral Order, the Houlihan
       Restructuring Fee (as defined in the Interim UST Cash Collateral Order) is subject to entry of the Final UST Cash
       Collateral Order.


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Interim UST Cash Collateral Order, including authority to provide the UST Adequate Protections,

be entered.

IV.    The DIP Lenders Should Be Deemed Good-Faith Lenders Under Section 364(e) of the
       Bankruptcy Code.

       65.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

       The reversal or modification on appeal of an authorization under this section [364
       of the Bankruptcy Code] to obtain credit or incur debt, or of a grant under this
       section of a priority or a lien, does not affect the validity of any debt so incurred, or
       any priority or lien so granted, to an entity that extended such credit in good faith,
       whether or not such entity knew of the pendency of the appeal, unless such
       authorization and the incurring of such debt, or the granting of such priority or lien,
       were stayed pending appeal.

       66.     As explained herein and in the Kaldenberg Declaration, the proposed DIP Facility

is the result of the Debtors’ reasonable and informed determination that the DIP Lenders offered

the most favorable (and only available) terms on which to obtain vital postpetition financing. The

DIP Facility is the culmination of hard-fought, arm’s-length, good-faith negotiations between the

Debtors and the DIP Lenders. The DIP Documents are reasonable and appropriate under the

circumstances, and the proceeds of the DIP Facility will be used only for purposes that are

permissible under the Bankruptcy Code, the Orders (including the Approved Budget), and the

DIP Documents.      Furthermore, no consideration is being provided to any party to the

DIP Documents other than as described herein.

       67.     Accordingly, the Court should find that the DIP Lenders are “good faith” lenders

within the meaning of section 364(e) of the Bankruptcy Code and are entitled to all of the

protections afforded therein.


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V.        The Automatic Stay Should Be Modified on a Limited Basis.

          68.      The proposed Interim Order provides that the automatic stay provisions of

section 362 of the Bankruptcy Code will be modified to the extent necessary to permit the DIP

Agent to file or record financing statements, trademark filings, copyright filings, mortgages,

notices of lien or similar instruments in any jurisdiction, deposit account control agreements or to

take possession of or control over cash or securities, or take any other action in order to validate

and perfect the liens and security interests granted to them hereunder, including, without limitation,

with respect to the DIP Liens and the Adequate Protection Liens.

          69.      Stay modifications of this kind are ordinary and standard features of debtor in

possession financing arrangements, and, in the Debtors’ business judgment, are reasonable and

fair under the circumstances of these chapter 11 cases. See, e.g., In re SiO2 Medical Prods., Inc.,

No. 23-10366 (JTD) (Bankr. D. Del. Apr. 26, 2023) (modifying automatic stay as necessary to

effectuate the terms of the order and following occurrence of an event of default); In re Carestream

Health, Inc., No. 22-10778 (JKS) (Bankr. D. Del. Aug. 24, 2022) (same); In re Town Sports Int’l,

LLC, No. 12-12168 (CTG) (Bankr. D. Del. Oct. 2, 2020) (same); In re Extraction Oil & Gas, Inc.,

No. 20-11548 (CSS) (Bankr. D. Del. Jun. 15, 2020) (same); In re Akorn, Inc., No. 20-11177

(KBO) (Bankr. D. Del. May 22, 2020) (same).14

VI.       Failure to Obtain Immediate Interim Access to the DIP Facility Would Cause
          Immediate and Irreparable Harm.

          70.      Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

obtain credit pursuant to section 364 of the Bankruptcy Code may not be commenced earlier than

14 days after the service of such motion. Upon request, however, the Court may conduct a


14    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
      Copies of these orders are available upon request of the Debtors’ proposed counsel.


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preliminary, expedited hearing on the motion and authorize the obtaining of credit to the extent

necessary to avoid immediate and irreparable harm to a debtor’s estate.

        71.     For the reasons noted above and in the Whittman Declaration, the Debtors have a

critical and near-term need for the liquidity provided by the DIP Facility and access to Available

ABL Cash Collateral. See Whittman Decl. ¶ 6–7. The New Money DIP Term Loans and Available

ABL Cash Collateral will provide the Debtors with the funds necessary to conduct an orderly

wind-down of their operations and execute a value-maximizing sale process for all of their assets.

See Id. Available ABL Cash Collateral will supplement the New Money DIP Term Loans to

ensure that these chapter 11 cases are sufficiently funded and that estate value is maximized. The

Debtors will also maintain certain limited operations and functions during these wind-down and

sale efforts, all in compliance with the Approved Budget and for the singular purpose of

maximizing estate value for the benefit of creditor recoveries. Id.

        72.     The Debtors request that the Court hold and conduct a hearing to consider entry of

the Interim Order authorizing the Debtors, from and after entry of the Interim Order until the Final

Hearing, to receive initial funding under the DIP Facility. The Debtors also request approval of

the Interim UST Cash Collateral Order, as described above. This relief will enable the Debtors to

preserve and maximize value and, therefore, avoid immediate and irreparable harm and prejudice

to their estates and all parties in interest, pending the Final Hearing.

                                     Request for Final Hearing

        73.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for the Final Hearing that is as soon as practicable, and in no event after

twenty-one days after the Petition Date, and fix the time and date prior to the Final Hearing for

parties to file objections to this motion.



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                                               Notice

       74.      The Debtors will provide notice of this motion to: (a) the United States Trustee;

(b) the holders of the thirty largest unsecured claims against the Debtors (on a consolidated basis);

(c) the office of the attorney general for each of the states in which the Debtors operate; (d) United

States Attorney’s Office for the District of Delaware; (e) the Internal Revenue Service; (f) the

United States Securities and Exchange Commission; (g) the United States Department of Justice;

(h) the DIP Agent and counsel thereto; (i) Milbank LLP, as counsel to certain investment funds

and accounts managed by affiliates of Apollo Capital Management, L.P.; (j) the administrative and

collateral agents under the B-2 Term Loan and counsel thereto; (k) the ABL Agent and counsel

thereto; (l) White & Case LLP, as counsel to Beal Bank USA; (m) the administrative and collateral

agents under the UST Credit Agreements and counsel thereto; (n) the United States Department of

Justice and Arnold & Porter Kaye Scholer LLP, as counsel to the United States Department of the

Treasury; and (o) any party that has requested notice pursuant to Bankruptcy Rule 2002

(the “Notice Parties”). As this motion is seeking “first day” relief, within two business days of the

hearing on this motion, the Debtors will serve copies of this motion and any order entered in respect

to this motion as required by Local Rule 9013-1(m). In light of the nature of the relief requested,

no other or further notice need be given.

                                         No Prior Request

       75.      No prior request for the relief sought in this motion has been made to this or any

other court.




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       WHEREFORE, the Debtors request that the Court enter the Orders, (a) granting the relief

requested herein and (b) granting such other relief as the Court deems appropriate under the

circumstances.

Dated: August 7, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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